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   1                  In the Court of Common Pleas
                     Lancaster County, Pennsylvania
   2                      Civil Action - Law
          -----------------------------x
   3      Prestige Fund A, LLC, et al.,
   4                            Plaintiffs
   5                    vs                                             No. CI-24-06012
   6      Paramount Management Group, LLC,
   7                  Defendant
          -----------------------------x
   8

   9

 10                                                                    MAY 9, 2025
 11       DEPOSITION OF:                                               BARRY RYNEARSON
 12       called for oral examination by counsel for the
 13       Plaintiffs, pursuant to Notice at 280 Granite Run
 14       Drive, Lancaster, Pennsylvania before Hillary
 15       Hazlett Walsh of Everest Court Reporting, a Notary
 16       Public in and for the Commonwealth of Pennsylvania,
 17       beginning at 9:53 a.m., when were present on behalf
 18       of the respective parties.
 19

 20

 21

 22

 23       Everest Job No. 40686
 24

 25

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   1                                A P P E A R A N C E S
   2      On behalf of the Plaintiffs:
   3            Saxton & Stump, LLC
   4            By:       Joshua J. Voss, Esquire
   5            Alec J. Johnson, Esquire
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 11

 12       On behalf of the witness:
 13             Boyle & Jasari
 14             By:       Dennis Boyle, Esquire
 15             1339 Chestnut Street, Suite 500
 16             Philadelphia, PA 19107
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 19

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   1                                            I N D E X
   2                                            EXAMINATION
   3      DEPOSITION OF                                                                             PAGE
   4      Barry Rynearson
   5            By Mr. Voss                                                                             4
   6

   7                                                EXHIBITS
   8      RYNEARSON EXHIBIT NO.                                                                 MARKED
   9      Exhibit 1 - Subpoena                                                                            6
 10       Exhibit 2 - Proof of Claim                                                                    68
 11       Exhibit 3 - Management Report 7/31/2022                                                       78
 12       Exhibit 4 - Management Report 12/31/2021                                                      90
 13       Exhibit 5 - Spreadsheet                                                                     102
 14       Exhibit 6 - Spreadsheet                                                                     108
 15       Exhibit 7 - Raw Glorious Transactions                                                       111
 16       Exhibit 8 - 2024 PMG Financial Statements                                                   117
 17

 18                                     REQUEST FOR PRODUCTION
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 1
                    STIPULATION                        1
                                                                 for answers to the best of your recollection.
 2
           It is hereby stipulated by and between      2
                                                                       Do you understand all of that?
 3
     counsel for the respective parties that sealing,  3
                                                                    A I do.
 4
     certification, and filing are waived and that     4
                                                                    Q Okay. Are you under the influence of
 5
     all objections except as to the form of the       5
                                                                 any drugs or any other impediments that would
 6
     question are reserved to the time of the trial.   6
                                                                 impede your ability to be truthful with your
 7
           BARRY RYNEARSON, called as a witness, 7               answers today?
 8
     being duly sworn, testified as follows:           8
                                                                    A No.
 9
     EXAMINATION BY                                    9
                                                                    Q Okay. Good.
10
     MR. VOSS:                                        10
                                                                       I will start with Exhibit 1. We can
11
        Q Good morning, Mr. Rynearson. My name is 11             call this Rynearson 1.
12
     Joshua Voss. I represent a group of Plaintiffs   12
                                                                       I'm handing the witness what has been
13
     collectively know as the Prestige Funds pending  13
                                                                 marked as Rynearson 1.
14
     in Lancaster County Common Pleas.                14
                                                                       Mr. Rynearson, have you seen this
15
           Have you been deposed before?              15
                                                                 before?
16
        A I don't believe so.                         16
                                                                    A I have.
17
        Q Okay. So I'm going to give you some         17
                                                                       (Rynearson Exhibit No. 1 was marked for
18
     basic instructions that will carry us through    18
                                                                 identification.)
19
     the day.                                         19
                                                                 BY MR. VOSS:
20
           We will start with to my right and         20
                                                                    Q And this is a subpoena to attend and
21
     across from you is a court reporter. You will    21
                                                                 testify. Is that why you are here today, sir?
22
     see, she types as I speak.                       22
                                                                    A Yes.
23
           She is producing a written record of       23
                                                                    Q And will you see in numbered Paragraph
24
     everything said in this room. To get the best    24
                                                                 2, there is a number of documents that are
25
     record possible, you need me to finish my        25
                                                                 requested of you.
                                                   Page 5                                                        Page 7
 1
     question before you answer and I will do my best        1
                                                                       Do you see that request?
 2
     to wait for your answer to complete before I ask        2
                                                                    A I do.
 3
     my next question.                                       3
                                                                    Q Did you look for those documents before
 4
            In normal human conversation, that is            4
                                                                 coming here today?
 5
     what we do. But for deps, if we want the best           5
                                                                    A Yes.
 6
     transcript, you need to wait, even if you know          6
                                                                    Q Did you find any materials responsive to
 7
     exactly what I'm going to ask to complete the           7
                                                                 those requests?
 8
     question.                                               8
                                                                    A No.
 9
            The second piece is we need oral                 9
                                                                    Q What efforts did you undertake to look
10
     responses. This isn't a videotape deposition,          10
                                                                 for those records?
11
     so I need you to say yes or no or I don't know,        11
                                                                    A I looked in my -- I looked in my files.
12
     what have you, but head shakes or nods are not         12
                                                                 I have some files related to Glorious, which is
13
     going to show up on the record. So we need to          13
                                                                 the Michigan entity.
14
     make sure we have oral responses to the                14
                                                                    Q What other files did you look at?
15
     questions.                                             15
                                                                    A That is -- that is what I had.
16
            If I ask you a question and you answer          16
                                                                    Q Okay. And when you say Glorious, what
17
     it, I will assume you understood it. So if you         17
                                                                 do you mean specifically?
18
     don't understand, please ask for clarification         18
                                                                    A So Glorious is an entity that exists in
19
     or whatever piece you don't understand, we will        19
                                                                 Michigan. Glorious Cannibis Company. It
20
     ask -- we will -- I will do my best to restate         20
                                                                 comprises about 25 legal entities.
21
     it.                                                    21
                                                                    Q Okay. We will talk about that at length
22
            I'm not looking for guesses today unless        22
                                                                 later. So we will put a pin in that now.
23
     I specifically ask for a guess. Same thing with        23
                                                                    A Okay.
24
     estimates, I'll let you know when I'm looking          24
                                                                    Q Let's talk about your preparation today.
25
     for an estimate. Other than that, I will ask           25
                                                                       Did you have preparations with anybody
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 1
     before you appeared here today?                1
                                                                was approximately 140 entities.
 2
        A No. Just my attorney.                     2
                                                                      Were you an officer of any of those
 3
        Q Anyone else in the room other than your   3
                                                                entities?
 4
     attorney?                                      4
                                                                   A No.
 5
        A No.                                       5
                                                                   Q Did you work at any of those entities?
 6
        Q Anyone else you spoke with about this     6
                                                                   A Help me understand. Did I work?
 7
     deposition?                                    7
                                                                   Q Well, did you -- were you a W-2
 8
        A No.                                       8
                                                                employee?
 9
        Q Did you talk to Daryl Heller about this   9
                                                                   A No. My paycheck was 100 percent from
10
     deposition?                                   10
                                                                Heller Capital.
11
        A No.                                      11
                                                                   Q You never got a 1099 from any other
12
        Q Does he know you are appearing here      12
                                                                entity?
13
     today?                                        13
                                                                   A I did not.
14
        A Not to my knowledge.                     14
                                                                   Q As far as -- well, what do you -- what
15
        Q Okay. Did you look at any documents in 15             was your work for -- for Heller Capital as CFO?
16
     preparation for today's deposition?           16
                                                                That is what I'm most interested in.
17
        A I did not.                               17
                                                                      What did you do kind of on a
18
        Q All right. Let's go into your            18
                                                                month-to-month, day-to-day, year-to-year basis?
19
     background a little bit.                      19
                                                                   A Sure. So my job at Heller Capital
20
          Who is your current employer?            20
                                                                focused on Daryl's startup companies, as well as
21
        A Current employer is sportsmansdeals.com. 21           his troubled entities, financially-troubled
22
        Q And what is, just generally, your role   22
                                                                entities, entities that were operationally not
23
     there?                                        23
                                                                performing well.
24
        A Finance related.                         24
                                                                   Q Okay. Let's start with the startup
25
        Q Okay. At some point in time, did you     25
                                                                entities.
                                                  Page 9                                                       Page 11
 1
     work at Heller Capital Group, LLC?                     1
                                                                     What does that mean startup entity?
 2
        A Yes.                                              2
                                                                   A It would be a brand new entity. It is
 3
        Q What period of time did you work there            3
                                                                organized, created, and go out and try to
 4
     start to stop?                                         4
                                                                achieve the investment objective. Glorious is a
 5
        A I started in August of 2018, and I                5
                                                                perfect example of that, Josh.
 6
     resigned in April of 2024.                             6
                                                                   Q And what specifically did you do to aid
 7
        Q And the resignation date, do you have an          7
                                                                these startup organizations?
 8
     exact date for that?                                   8
                                                                   A Whatever needed to be done. So
 9
        A I don't have the exact date. It would             9
                                                                financial operational, the legal setup, and
10
     be the third week though. Third week of April.        10
                                                                hiring employees, managing employees, sending
11
        Q Third week. Okay.                                11
                                                                KPIs, Key Performance Indicators.
12
           What titles did you have at Heller              12
                                                                   Q Okay. A minute ago you spoke about
13
     Capital?                                              13
                                                                troubled organizations.
14
        A In the beginning, I was a consultant.            14
                                                                     What were troubled organizations? What
15
     So I was hired on as a financial consultant. So       15
                                                                do you mean by that?
16
     that would have been August of 2018; and then in      16
                                                                   A Like entities that weren't doing well.
17
     December of 2018, he hired me as the CFO.             17
                                                                Financially, they were not doing well. So
18
        Q When you say he, who do you mean?                18
                                                                example of that would be the Rockford Capital
19
        A Sorry. Daryl Heller.                             19
                                                                Companies. That was a real estate portfolio.
20
        Q And from December 2018 to April 2024,            20
                                                                   Q And why were they troubled?
21
     you had the title of CFO?                             21
                                                                   A That specific example was just bad
22
        A I did.                                           22
                                                                management.
23
        Q Were you an officer of any other                 23
                                                                   Q Who performed the management for that
24
     entities -- I sort of just call it the Heller         24
                                                                company?
25
     universe. I understand from other witnesses it        25
                                                                   A So that would have been Will Stoltzfus.
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 1
        Q And any other examples of troubled                1
                                                                Holdings. There is two entities that roll up
 2
     entities that you can recall?                          2
                                                                into GCC MSO Holdings. And the cap table that
 3
        A Not right now. Most of it was startup.            3
                                                                I'm a part of is GCC Investment Holdings.
 4
        Q Okay. Did you have a role at Paramount            4
                                                                   Q Which entity is issuing a K-1?
 5
     Management Group, LLC?                                 5
                                                                   A It would be GCC Investment Holdings.
 6
        A I did not.                                        6
                                                                   Q And is that an LLC?
 7
        Q Okay. It was neither a startup nor a              7
                                                                   A Yes.
 8
     troubled entity as you described them?                 8
                                                                   Q Any other entities within the Heller
 9
        A Correct.                                          9
                                                                Capital universe or Daryl Heller's universe that
10
        Q I think you mentioned this a minute ago;         10
                                                                you owned previously or owned now?
11
     but for clarification, how were you paid by           11
                                                                   A No.
12
     Heller Capital? Meaning were you biweekly?            12
                                                                   Q Were you ever an owner in Paramount?
13
     Check? A K-1? Distributions? How were you             13
                                                                   A No.
14
     paid?                                                 14
                                                                   Q Regarding Heller Capital from 2018 to
15
        A Employee, at-will employee. Check,               15
                                                                2024, can you identify the officers by year and
16
     biweekly checks.                                      16
                                                                duration? And I'm really just looking for
17
        Q I got you.                                       17
                                                                C-Suite type folks.
18
           Were you ever an owner of Heller                18
                                                                   A Daryl Heller, CEO the entire time.
19
     Capital?                                              19
                                                                Aaron Fogleman, COO. I'm not going to be able
20
        A No.                                              20
                                                                to give you the dates unfortunately, Josh. Last
21
        Q Were you ever an owner of any entity             21
                                                                two years for sure, maybe three.
22
     within the Heller Capital or Daryl Heller             22
                                                                     Dan Burkholder would have been the Chief
23
     universe of entities?                                 23
                                                                Cultural Officer and President. Again, I'm
24
        A I was a member of an entity that had an          24
                                                                going to struggle with dates at least the last
25
     equity ownership in a Glorious Company.               25
                                                                two or three years.
                                                 Page 13                                                       Page 15
 1      Q What company was that?                       1
                                                                     Erin Farabaugh. She was the CLO. She
 2      A Tycoon -- Tycoon Holdings and Frank RE.      2
                                                                was there probably the last two years, year and
 3   They no longer exist. They were rolled into       3
                                                                a half of me being there.
 4   Glorious Cannabis Company.                        4
                                                                     And then there was one other individual,
 5      Q So you used to be a member of Tycoon         5
                                                                his name is Neil Leininger and his title was
 6   Holdings?                                         6
                                                                Chief Project Officer.
 7      A Um-hum.                                      7
                                                                   Q Was there an accounting department at
 8      Q But are not presently?                       8
                                                                Heller Capital?
 9      A I believe that is correct how the legal      9
                                                                   A Yes.
10   structure -- my K-1 for 2020 -- my K-1 for 2024  10
                                                                   Q How many folks worked in that?
11   is going to come from GCC MSO Holdings.          11
                                                                   A We had like five. Can I have a pen to
12      Q When did your interest in Tycoon            12
                                                                write this down? Can I write on this?
13   Holdings end?                                    13
                                                                   Q That is a -- here is a notepad.
14      A So we did a -- Glorious did a large         14
                                                                   A That will just help me. Thank you.
15   acquisition of -- of Choice Labs; and when those 15
                                                                     I feel like I'm forgetting people.
16   two entities merged, we came together and all of 16
                                                                   Q That is fine. It is a memory test.
17   the -- all of the legal entities, all of the     17
                                                                   A I'm failing.
18   entities that had members rolled up into one     18
                                                                   Q Where did the --
19   consolidated membership.                         19
                                                                   A I got four that I think of right now.
20      Q And that membership is GCC MSO Holdings? 20              Q What were their names and to the extent
21      A Let me just make sure -- that is the        21
                                                                you are able to recall their titles?
22   very top level. Yeah, that is very top level.    22
                                                                   A So Dana Schlicker, she was the
23      Q And that is the only entity that you        23
                                                                controller. And then Austin Quinones was a
24   presently --                                     24
                                                                senior accountant. Josh Baker was a senior
25      A Let me just back -- it is GCC Investment    25
                                                                accountant.
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 1
          There was another Josh. I don't                   1
                                                                   A We would have -- we would have an
 2
     remember his last name. He was the lowest level        2
                                                                executive team meeting once a month.
 3
     accountant.                                            3
                                                                   Q Were there minutes of those meetings?
 4
          And then Pete Wisniewski, he did some             4
                                                                   A No.
 5
     accounting for us as well. He was staff                5
                                                                   Q How about was there any board for Heller
 6
     accountant, lower level.                               6
                                                                Capital?
 7
         Q Who succeeded you as CFO?                        7
                                                                   A No.
 8
         A Nobody to my knowledge.                          8
                                                                   Q No board meetings that you are aware of?
 9
         Q Do you know who performed the role of            9
                                                                   A No.
10
     CFO?                                                  10
                                                                   Q Minutes?
11
         A I don't. I think they kind of shared            11
                                                                   A No.
12
     it.                                                   12
                                                                   Q How about intermingling of funds?
13
         Q Who is the they?                                13
                                                                Intermingling of funds between Heller Capital
14
         A Aaron Fogleman and Dana.                        14
                                                                and entities within the Heller Capital universe?
15
         Q Are you familiar with an entity called          15
                                                                   A Not that I'm aware of.
16
     Luma Financial Group?                                 16
                                                                   Q How about funds of Heller Capital? Did
17
         A I am.                                           17
                                                                Daryl ever use those for personal purposes?
18
         Q What do you understand that entity is           18
                                                                   A If he did, they would be a distribution
19
     and does?                                             19
                                                                out of Heller Capital into Daryl's personal
20
         A It was an entity that I believe that            20
                                                                account.
21
     Dana Schlicker established to do the accounting       21
                                                                   Q Well, did he have a personal American
22
     work for Daryl Heller's entities.                     22
                                                                Express card?
23
         Q Did you -- have you ever worked there?          23
                                                                   A It was a company card, to the best of my
24
         A No.                                             24
                                                                knowledge.
25
         Q Do you believe that they are performing         25
                                                                   Q To the best of your knowledge, he had
                                                 Page 17                                                       Page 19
 1
     those services?                                        1   just one AMEX card?
 2
        A I -- I don't know.                                2      A To the best of my knowledge, yes.
 3
        Q Do you know why that entity was formed?           3      Q Okay. You are not aware that he had a
 4
        A I do not.                                         4   personal AMEX card -- or if he had a personal
 5
        Q Let's talk about Daryl Heller's role at           5   AMEX card that was billed to Heller Capital?
 6
     Heller Capital.                                        6      A What I recall is we had a Heller Capital
 7
           What did he do on a day-to-day,                  7   AMEX account and anybody who was an employee of
 8
     month-to-month, year-to-year basis?                    8   Heller Capital received a credit card that had
 9
        A Daryl was the visionary strategic                 9   Heller Capital on the card.
10
     thinker. He was always looking for investment         10      Q A moment ago you said that Daryl managed
11
     opportunity and then he would manage the -- we        11   the portfolio company?
12
     call them portfolio companies. He would engage        12      A You mentioned earlier the 140 entities,
13
     in managing the portfolio companies.                  13   that would be the whole entire group of entities
14
        Q Did he control the finances?                     14   that would roll up.
15
        A Control them? Help me understand.                15      Q To your knowledge, how many entities
16
        Q Did he make major financial decisions?           16   were underneath Heller Capital in sort of a
17
        A Definitely.                                      17   corporate org chart?
18
        Q Did he make medium financial decisions?          18      A Your 140 number is probably right and
19
        A Could have, yeah.                                19   the only reason I know that is because of the
20
        Q How about minor financial decisions?             20   taxes. I would make sure all of the taxes were
21
        A Probably not.                                    21   filed.
22
        Q Fair to say he -- he controlled the              22      Q Did each entity file its own tax return?
23
     finances that -- at a significant level?              23      A If it was -- if it was a reporting
24
        A Yes.                                             24   entity, yes.
25
        Q Did he follow corporate formalities?             25      Q Reporting entity meaning it wasn't just
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 1
     a mere passthrough?                               1
                                                                Prestige Investment Group, Premiere Technology
 2
        A Yes. Like a single member LLC would not 2             Group, and Avail? Just those three?
 3
     be a reporting entity. It would flow through to   3
                                                                   A And Paramount. Did you say Paramount?
 4
     the individual who owned it.                      4
                                                                   Q I did not say Paramount.
 5
        Q What did -- what did Heller Capital do?      5
                                                                   A Okay.
 6
     What was its business? How would you describe 6               Q So that is a fourth.
 7
     it?                                               7
                                                                     Any others you can recall?
 8
        A Daryl used to describe it as a boutique      8
                                                                   A No.
 9
     private equity firm. It was more akin to a        9
                                                                   Q Do you believe there were others there?
10
     family office.                                   10
                                                                   A Could be. They weren't significant.
11
        Q What do you mean by that?                   11
                                                                They would break even, a couple hundred
12
        A It was Daryl's money that was mostly        12
                                                                thousand. So those were the ones that were
13
     invested. It was friends and family money that   13
                                                                pulling in some cash.
14
     was mostly invested.                             14
                                                                   Q Well, did those four contribute equally
15
        Q How did it make money?                      15
                                                                or was one more important than another?
16
        A It made money through the portfolio         16
                                                                   A Oh, definitely Paramount was by far the
17
     companies.                                       17
                                                                biggest.
18
        Q Well, what did they do? Give me some        18
                                                                   Q Paramount, if you had to represent it as
19
     industries, for example.                         19
                                                                a percentage of Heller Capital earnings, what
20
        A So Paramount was a good example. So         20
                                                                would you estimate that percentage to be?
21
     Paramount -- Paramount when I started with Daryl 21           A Very high. Like 90th. Ninetieth
22
     Heller in '18, they were portrayed to be the     22
                                                                percentile.
23
     fourth largest ATM company in the country and    23
                                                                   Q So 90 percent of the money that Heller
24
     they were generating significant cash flow at    24
                                                                Capital was making while you were their CFO was
25
     full C-Suite.                                    25
                                                                out of Paramount?
                                                 Page 21                                                       Page 23
 1
           So dividends would come out of Paramount         1
                                                                   A That is correct.
 2
     or distributions rather into Heller. So that is        2
                                                                   Q A minute ago -- I just want to follow up
 3
     how Heller -- how it made its money.                   3
                                                                on your answers.
 4
        Q From other businesses essentially doing           4
                                                                      You said Paramount was portrayed to be
 5
     the same?                                              5
                                                                the fourth largest ATM company.
 6
        A Yeah. The ones that were profitable.              6
                                                                      Who portrayed that to you?
 7
     The ones that had cash flow, yes.                      7
                                                                   A Daryl.
 8
        Q Is that a lengthy list of ones that were          8
                                                                   Q Anybody else?
 9
     cash flow positive?                                    9
                                                                   A No, not that I can recall.
10
        A Not really, no.                                  10
                                                                   Q And when you say these entities
11
        Q Well, in that case, can you give me the          11
                                                                including Paramount cash flowed, what do you
12
     list?                                                 12
                                                                mean?
13
        A Sure. So you would have had Prestige             13
                                                                   A They were cash flow positive.
14
     would have cash flowed.                               14
                                                                   Q Meaning they were profitable?
15
        Q What do you mean by Prestige?                    15
                                                                   A The operations were generating positive
16
        A Prestige Investment Group.                       16
                                                                cash flow.
17
        Q Okay. What else?                                 17
                                                                   Q Okay. You are going to know a lot of
18
        A He would have had -- there is more.              18
                                                                accounting terms that seem real obvious to you
19
     Give me a second. I'm just thinking. PTG, so          19
                                                                that are not to me.
20
     that was a company, Premiere Technology Group,        20
                                                                   A Sure.
21
     Avail Solutions.                                      21
                                                                   Q So some of these questions are
22
        Q Any others?                                      22
                                                                legitimately just me trying to understand the
23
        A I don't recall any others, Josh.                 23
                                                                vernacular you are using so I'm not thinking
24
        Q So the ones that cash flow -- cash               24
                                                                they mean something other than what a guy with a
25
     flowed to the best of your recollection were          25
                                                                law degree who is bad at math would think they
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 1
     mean.                                                  1
                                                                Heller Capital earning money?
 2
        A Okay.                                             2
                                                                   A Was Heller Capital earning money?
 3
        Q You said that Paramount got paid                  3
                                                                   Q Yes.
 4
     dividends to Heller Capital. I think I wrote           4
                                                                   A The only way Heller Capital earned
 5
     that down correctly.                                   5
                                                                income was from portfolio companies.
 6
           Is that what you said?                           6
                                                                   Q Okay. Same question. Was it earning
 7
        A It would be distributions actually --             7
                                                                money in 2024?
 8
        Q Distributions.                                    8
                                                                   A It was -- it had cash.
 9
        A -- because it is an LLC.                          9
                                                                   Q Was it profitable?
10
        Q And how often would distributions flow           10
                                                                   A So Heller Capital, again, is not an
11
     from Paramount to Heller Capital?                     11
                                                                operating entity. So it didn't really have like
12
        A I mean, they would -- they would flow on         12
                                                                an operating P&L.
13
     a regular basis. Weekly, there could be a             13
                                                                   Q What do you mean it wasn't an operating
14
     distribution every week.                              14
                                                                entity?
15
        Q Okay. Did Heller Capital make any money          15
                                                                   A It didn't -- it didn't -- it did not
16
     from PowerCoin sometimes referred to as Margo?        16
                                                                produce a product.
17
        A Not to my knowledge.                             17
                                                                   Q Okay. But it had employees?
18
        Q How about from an entity call Bitstop?           18
                                                                   A Who all had services to the portfolio
19
        A Bitstop might have been a profitable             19
                                                                companies.
20
     company as well actually. I think they were           20
                                                                   Q Right.
21
     profitable. But again not significantly               21
                                                                     It filed a tax return?
22
     profitable, but they were cash flowing.               22
                                                                   A It did.
23
        Q So maybe that is a fifth entity with             23
                                                                   Q It was an entity formed under
24
     cash flow?                                            24
                                                                Pennsylvania law?
25
        A Yes. Thank you.                                  25
                                                                   A Yes.
                                                 Page 25                                                       Page 27
 1
        Q To be clear, this is a memory test.               1
                                                                   Q Okay. So --
 2
     There is nothing in front of you. So if we come        2
                                                                      MR. BOYLE: If I could just interrupt
 3
     up with others --                                      3
                                                                and go off the record for a second.
 4
        A Okay.                                             4
                                                                      THE REPORTER: Is that okay?
 5
        Q -- we will add them to the list.                  5
                                                                      MR. BOYLE: You are making a distinction
 6
           How about Raw Ventures? Was that cash            6
                                                                between holding and operating companies.
 7
     flow?                                                  7
                                                                      MR. VOSS: Okay. Yes. Is this
 8
        A Definitely not.                                   8
                                                                accounting?
 9
        Q I keep saying we are going to get to it           9
                                                                      MR. BOYLE: Pardon?
10
     so I don't get out of order, we are going to          10
                                                                      MR. VOSS: Am I falling into an
11
     talk about Raw --                                     11
                                                                accounting trap here?
12
        A Okay.                                            12
                                                                      MR. BOYLE: I think so.
13
        Q -- and the next entity a little bit              13
                                                                      MR. VOSS: Okay.
14
     more.                                                 14
                                                                      MR. BOYLE: I think he is speaking of
15
           Glorious, did that cash flow?                   15
                                                                profits coming from operating companies.
16
        A Glorious did not always have cash flow           16
                                                                Whereas Heller Capital was a holding company, it
17
     and when it did, it needed the funds for              17
                                                                received the profits from the other companies
18
     expansion. There was an expansion to other            18
                                                                but it did not produce a product or service of
19
     states, new capital equipment.                        19
                                                                its own.
20
           So it did hold its own from 2018 to             20
                                                                      MR. VOSS: Understood.
21
     2021, it did not cash flow. And then about '21        21
                                                                      MR. JOHNSON: We are just looking for
22
     is when it turned and started to cash flow but        22
                                                                income and expenses.
23
     not enough to be able to pay distributions to         23
                                                                      MR. VOSS: Yeah. I want to go back on
24
     Heller Capital.                                       24
                                                                the record before he says anything else but
25
        Q When you left in April of 2024, was              25
                                                                yeah.
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 1          MR. BOYLE: Okay.                                1
                                                                though?
 2          THE REPORTER: I actually stayed on the          2
                                                                   A From a -- from a tax perspective and
 3   record because you didn't answer my question. I        3
                                                                from an income book perspective, it wouldn't --
 4   stay on the record until both sides agree.             4
                                                                it wouldn't have consolidated up. And they were
 5          MR. BOYLE: No problem.                          5
                                                                all standalone separate legal entities.
 6          MR. VOSS: Is that okay if that stays on         6
                                                                   Q To your knowledge, was Heller Capital
 7   the record? I think it is an important                 7
                                                                either the sole or majority member of each of
 8   clarification.                                         8
                                                                those 140 entities?
 9          MR. BOYLE: Yes.                                 9
                                                                   A Definitely not.
10   BY MR. VOSS:                                          10
                                                                   Q Who else would have been involved with
11      Q Was Heller Capital earning money when            11
                                                                them? Is that a long answer?
12   you left in 2024?                                     12
                                                                   A I couldn't even tell you. Like,
13      A They would have build -- built portfolio         13
                                                                Prestige, I could tell you that 60 percent --
14   companies for services -- so Heller Capital           14
                                                                Heller Capital owned 60 percent of Prestige.
15   would receive cash flow two ways through              15
                                                                      I could tell you they own 83 percent of
16   distributions and through billing out the             16
                                                                Paramount. Of Glorious, it is about 25 to 30
17   portfolio companies for services performed.           17
                                                                percent of Glorious.
18          So there was like a monthly management         18
                                                                      You know, with some entities, it is --
19   fee that the portfolio companies would pay. So        19
                                                                some entities it is over 50 percent and some
20   they would have been earning money on a P&L and       20
                                                                entities it is below 50 percent.
21   on a P&L you would have income coming in from         21
                                                                   Q I see. I said majority. Fair answer.
22   management income.                                    22
                                                                   A Okay.
23      Q So when you left in April of '24, it was         23
                                                                   Q Was Heller Capital an owner of any stake
24   still receiving -- let's try a different term --      24
                                                                in the 140 entities?
25   deposits from the portfolio companies?                25
                                                                   A Yes.
                                                 Page 29                                                      Page 31
 1
        A Yes.                                         1
                                                                   Q Okay. Owner in all of them?
 2
        Q Okay. Was it receiving sufficient            2
                                                                   A Not always, no.
 3
     deposits to cover its expenses?                   3
                                                                   Q Okay.
 4
        A I believe so.                                4
                                                                   A I would say the majority.
 5
        Q Okay. Did you come to learn at some          5
                                                                   Q And the majority where they didn't or
 6
     point in time that Heller Capital was out of      6
                                                                just performing services? A vendor? I don't
 7
     money?                                            7
                                                                understand the corporate relationship. That is
 8
        A Not -- not in my tenure.                     8
                                                                what I'm trying to get at.
 9
        Q Okay. So if I represented to you I had       9
                                                                   A I know. I'm trying to recall, Josh.
10
     testimony that by April -- May of 2024 it was -- 10        Just give me a second to think.
11
     it was not earning money and not profitable, you 11              There were -- there definitely were
12
     don't have any information about that?           12
                                                                entities where Daryl didn't have an ownership
13
        A I don't because I would have left in        13
                                                                in -- like in the beginning, I can remember Raw
14
     April.                                           14
                                                                Ventures, we have mentioned that before Daryl or
15
        Q Okay. I think we covered this.              15
                                                                Heller Capital didn't have any ownership
16
          You believe 140 is a good approximate       16
                                                                interest in Raw at one time.
17
     number of entities under Heller Capital; is that 17              There was another entity i Employee
18
     right?                                           18
                                                                Services didn't have an ownership interest in
19
        A Again, I don't want to misspeak. There      19
                                                                that at any point of time.
20
     was 140 companies that were either under Heller 20               They were service entities, to your
21
     Capital and I want to say like Heller Capital    21
                                                                point that provided services out to portfolio
22
     invested into them or they were a special        22
                                                                companies.
23
     purpose entity that was set up and in the family 23           Q Those Raw and i Services?
24
     of portfolio companies.                          24
                                                                   A In i Employee.
25
        Q Everything rolls up to Heller Capital       25
                                                                   Q They provided services to other
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 1
     entities?                                              1
                                                                Florida the entire month of March of 2024. So
 2
        A They did.                                         2
                                                                if it was March, I definitely wasn't there. I
 3
        Q How did Heller Capital receive money              3
                                                                don't recall going -- actually, I don't think I
 4
     from those entities?                                   4
                                                                have ever been to Dan's house.
 5
        A He didn't.                                        5
                                                                    Q Did you ever have a meeting in that
 6
        Q Okay.                                             6
                                                                timeframe, February and March of 2024, with Dan
 7
        A He did not.                                       7
                                                                Burkholder and Daryl Heller and you?
 8
        Q Were there entities over top of Heller            8
                                                                    A Could have.
 9
     Capital?                                               9
                                                                    Q Okay. Do you recall asking Daryl --
10
        A No.                                              10
                                                                well, let's try this.
11
        Q Okay. Do you know what the percentage            11
                                                                      At some point in time, did you have
12
     ownership stake in Heller Capital, who were the       12
                                                                concerns that Paramount was running a Ponzi
13
     percentage owners in Heller Capital?                  13
                                                                scheme?
14
        A Yeah, I believe it was Daryl was 99              14
                                                                    A So can I just back up?
15
     percent and Accordo I believe was 1 percent.          15
                                                                    Q That is a yes-or-no question.
16
        Q And that was true at the time you left           16
                                                                      MR. BOYLE: That is a yes or no.
17
     in April of last year?                                17
                                                                      THE WITNESS: Okay. Did I have
18
        A I believe so, correct.                           18
                                                                concerns? I don't honestly know how to answer
19
        Q Is that always true the entire time you          19
                                                                that question. I didn't have concerns -- I
20
     are there?                                            20
                                                                don't know how to answer that question.
21
        A Yeah. I'm pretty sure it was.                    21
                                                                BY MR. VOSS:
22
        Q Okay. Are you familiar with Heller               22
                                                                    Q Okay. You said you wanted to back up a
23
     Investment Holdings?                                  23
                                                                minute. Go ahead and back up a minute and tell
24
        A I am, yes.                                       24
                                                                me what you wanted to say.
25
        Q Okay. Is there any kind of corporate             25
                                                                    A Do you mind if I take a bathroom break?
                                                 Page 33                                                      Page 35
 1
     tie between Heller Capital Group and Heller            1
                                                                      MR. BOYLE: You got to answer the
 2
     Investment Holdings?                                   2
                                                                question first.
 3
        A There is no corporate tie. So Daryl was           3
                                                                      THE WITNESS: Okay. So I took a
 4
     the sole owner of Heller Investment Holdings.          4
                                                                sabbatical in the month of March. That is how I
 5
     So when I left in '24, April of '24, he was the        5
                                                                knew the meeting couldn't take place in the
 6
     sole owner of Heller Investment Holdings.              6
                                                                month of March.
 7
        Q And what did Heller Investment Holdings           7
                                                                      I was in Florida the entire month of
 8
     do?                                                    8
                                                                March; and when I came back from being on
 9
        A So Heller Investment Holdings was                 9
                                                                sabbatical for an entire month, you come in and
10
     established to hold the investment in the             10
                                                                have a completely different perspective of what
11
     cannabis companies.                                   11
                                                                is going on.
12
        Q That is all it did?                              12
                                                                      You have that when you take a week
13
        A That is all it did.                              13
                                                                vacation and you come back. And when you come
14
        Q And when was it formed?                          14
                                                                in for a month, you have a different
15
        A Probably 2019.                                   15
                                                                perspective.
16
        Q I see.                                           16
                                                                      I was at a point in my career I didn't
17
           Did you keep the books and records for          17
                                                                want to work the hours that I was working. I
18
     that entity?                                          18
                                                                was burnt out. I wanted to slow down a little
19
        A Heller Investment Holdings, we did.              19
                                                                bit.
20
        Q And the we -- who is the we?                     20
                                                                      So when I came back -- the reason why I
21
        A Heller Capital staff.                            21
                                                                ended up leaving in April was a couple of
22
        Q Okay. In or around February or March of          22
                                                                reasons and one of them was the Ponzi concern.
23
     2024, did you go to a meeting at Dan                  23
                                                                      So I come in and Daryl is not behaving
24
     Burkholder's house?                                   24
                                                                the way that he typically had behaved. And by
25
        A February or March of 2024? So I was in           25
                                                                that, I mean, he was -- he was not communicating
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 1
     with the investors on Prestige, which is really   1
                                                                 point, I'm thinking this is not an environment I
 2
     odd.                                              2
                                                                 want to be a part of anymore.
 3
          I know they were upset and they were,        3
                                                                       MR. VOSS: I'm going to have a lot of
 4
     you know, raising concerns of why they weren't    4
                                                                 followups but let's let you take that break.
 5
     getting their dividends and he wasn't             5
                                                                       (Break.)
 6
     communicating with Will Powers or Matt Eby and 6            BY MR. VOSS:
 7
     he was kind of leaving them on the front lines    7
                                                                    Q What did Matt Eby say to you
 8
     to fend for themselves.                           8
                                                                 specifically?
 9
          That was completely out of character for     9
                                                                    A He said specifically that the investors
10
     Daryl. That made no sense to me that he          10
                                                                 were saying that they were concerned that this
11
     wouldn't be communicating to the investors and   11
                                                                 could be a Ponzi.
12
     the people on the front line of Prestige. So     12
                                                                    Q And what was your response?
13
     that was odd.                                    13
                                                                    A Shock.
14
          There were funds being deposited into       14
                                                                    Q What did you say to Matt?
15
     Heller's bank account for which my controller    15
                                                                    A Do you think it is a Ponzi?
16
     was asking for documentation and support, which, 16            Q What was his response?
17
     again, was odd that Daryl wasn't furnishing the  17
                                                                    A He -- he was -- didn't believe that it
18
     documentation and support.                       18
                                                                 was.
19
          So when I came back from my sabbatical,     19
                                                                    Q Okay. What did you do to follow up on
20
     Dana communicates this to me. And I said, well, 20          that discussion with Matt?
21
     don't worry about it. I'll get it. And I asked   21
                                                                    A So I prepared my resignation for one.
22
     him multiple times and he didn't give it to me   22
                                                                 That was the icing on the cake for me to hear
23
     and that is --                                   23
                                                                 that.
24
          MR. BOYLE: Who?                             24
                                                                       The other thing I said to Daryl, I gave
25
          THE WITNESS: I'm sorry. Daryl Heller.       25
                                                                 him the reasons and one of the reasons I gave
                                                  Page 37                                                      Page 39
 1
           So just very odd. So those are two                1
                                                                 him was this word Ponzi is coming up and I don't
 2
     flags that I'm looking at that doesn't make             2
                                                                 want to be a part of it. And he said to me it
 3
     sense to me.                                            3
                                                                 is not a Ponzi. He goes, I can show you that it
 4
           So I'm -- I'm talking about Matt Eby and          4
                                                                 is not a Ponzi.
 5
     he says to me the first time I ever hear the            5
                                                                    Q Okay. What did he show you?
 6
     word Ponzi is from Matt Eby and he is saying the        6
                                                                    A He prepared a -- he prepared a
 7
     investors are saying this is a potential Ponzi          7
                                                                 presentation and the presentation was the P&L of
 8
     scheme and I was like, you got to be kidding me.        8
                                                                 Paramount Management Group that showed that it
 9
     Right?                                                  9
                                                                 was cash flow and be able to make the payments
10
           So that was -- so concern, yeah, he is           10
                                                                 to the investors.
11
     telling me there is a potential Ponzi scheme.          11
                                                                    Q It was a written presentation?
12
     That is the first I'm hearing about it. It is          12
                                                                    A Yeah. It was -- it was a P&L, like a
13
     obviously alarming. So there is concern to the         13
                                                                 Profit and Loss Statement.
14
     sense that it is alarming and I'm hearing this.        14
                                                                    Q When you say he prepared a presentation,
15
           And then the other thing honestly, Josh,         15
                                                                 was it like you are in a room with a screen or
16
     is that he had a five-million-dollar tax               16
                                                                 documents he is handing you? What do you mean
17
     liability, he being Daryl, had a                       17
                                                                 by presentation?
18
     five-million-dollar tax liability that was             18
                                                                    A It was a P&L. He prepared a P&L to
19
     due -- that was due April of '23 for his '22           19
                                                                 present to myself to show me that Paramount
20
     taxes and still hadn't been paid and that didn't       20
                                                                 Management Group was going to cash flow and be
21
     make any sense to me and he knew I didn't like         21
                                                                 able to pay the dividend payments.
22
     the fact that he wasn't paying his taxes.              22
                                                                    Q Okay. Let's talk about that document.
23
           So all of this is kind of coming                 23
                                                                      Do you still have it?
24
     together at the same time and I talked to Matt         24
                                                                    A No.
25
     Eby and he mentions the word Ponzi and at that         25
                                                                    Q Were you given a copy?
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 1
        A That would have been when I worked for             1
                                                                 wouldn't be part of a P&L, so it is probably not
 2
     Heller Capital. I don't even know if I actually         2
                                                                 in there.
 3
     had a copy of it or if he shared his screen, to         3
                                                                      ATM sales, that is possible. That could
 4
     be honest with you. But it would have been in           4
                                                                 be in a P&L. That could have possibly been in
 5
     my e-mail for Heller Capital, if it existed that        5
                                                                 there.
 6
     way.                                                    6
                                                                    Q Was this P&L that you saw in this
 7
        Q How was this meeting done? Teams?                  7
                                                                 meeting with Daryl Heller, was it a single
 8
     Zoom? In person?                                        8
                                                                 month? A year? What was the timeframe covered
 9
        A It would have been Teams.                          9
                                                                 by the P&L?
10
        Q Was it recorded?                                  10
                                                                    A That is a good question. I don't
11
        A No.                                               11
                                                                 recall.
12
        Q You know for sure it wasn't recorded?             12
                                                                    Q Did it have more than one month
13
        A I know that because we -- that wasn't             13
                                                                 represented in it?
14
     protocol. We typically didn't record Teams             14
                                                                    A It was a consolidated P&L like one
15
     calls.                                                 15
                                                                 period.
16
        Q Who was on this Teams meeting?                    16
                                                                    Q What is that period?
17
        A So it would have been myself, Daryl               17
                                                                    A It is -- a period is a month, a quarter,
18
     Heller, and Dan Burkholder.                            18
                                                                 a year.
19
        Q When was this?                                    19
                                                                    Q You don't recall if it was any of those?
20
        A It would have been like the third week            20
                                                                    A I don't.
21
     of April.                                              21
                                                                    Q But it was one of whatever unit it was
22
        Q Let's talk about the P&L.                         22
                                                                 in?
23
           What -- did it look like it was a                23
                                                                    A Correct.
24
     Paramount P&L that existed or was it a P&L that        24
                                                                    Q Did he tell you who created that P&L?
25
     he created for this meeting or other?                  25
                                                                    A He did not.
                                                  Page 41                                                      Page 43
 1
        A I don't know.                                1
                                                                    Q Okay. And you believe it is possible
 2
        Q Okay. Did -- did the P&L look to be          2
                                                                 that you were e-mailed it?
 3
     sort of in a format that somebody with your       3
                                                                    A Could have been in my Heller Capital
 4
     credentials and qualifications would recognize    4
                                                                 e-mail, correct.
 5
     as legitimate --                                  5
                                                                    Q Did Daryl tell you who created the P&L?
 6
        A Yes.                                         6
                                                                    A He did not.
 7
        Q -- and had the points and data that it       7
                                                                    Q Okay. How did he explain that that P&L
 8
     should have?                                      8
                                                                 showed Paramount wasn't a Ponzi scheme?
 9
        A Yes.                                         9
                                                                    A Because it was showing operational cash
10
           MR. BOYLE: Wait for him to finish.         10
                                                                 flow sufficient to make the dividend payments to
11
     BY MR. VOSS:                                     11
                                                                 the Prestige investors.
12
        Q What do you recall about the P&L?           12
                                                                    Q Let's talk about operational cash flow.
13
        A The only thing that I truly recall is       13
                                                                       What do you mean by that?
14
     that it showed that Paramount operationally cash 14            A So the business was -- so Paramount was
15
     flowed to be able to make the dividends to the   15
                                                                 in the business of managing ATM machines,
16
     investors.                                       16
                                                                 generating revenue from the ATM machines, and
17
        Q Do you recall if it had a line regarding    17
                                                                 that revenue creates operating income that was
18
     ATM sales?                                       18
                                                                 sufficient to pay the investors.
19
        A No. I don't recall.                         19
                                                                    Q What was your understanding of how much
20
        Q Do you recall if it had a line in it        20
                                                                 the investors were owed each month?
21
     regarding PE debt payments?                      21
                                                                    A That, I had no knowledge of. Other than
22
        A No. I don't recall.                         22
                                                                 for the payment that he said this was sufficient
23
        Q Okay. Is it possible that those were in     23
                                                                 to pay the payment.
24
     it?                                              24
                                                                       So like -- I know there was, like,
25
        A PE debt payments? Debt payments             25
                                                                 negotiating payments -- again, I was not a part
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 1
     of any of those conversations. So I -- I don't    1
                                                                A No.
 2
     really know exactly what the amounts due each     2
                                                                Q Did he have sort of a ten-point outline
 3
     month were.                                       3
                                                             of why it wasn't a Ponzi scheme?
 4
        Q Do you recall how much operating revenue 4            A I don't recall like a ten-point
 5
     that P&L showed for Paramount?                    5
                                                             presentation.
 6
        A I don't.                                     6
                                                                Q Did he have sort of agenda points or
 7
        Q Do you have a sense of the scale of it?      7
                                                             bullet points?
 8
     A million? Ten million? One hundred million?      8
                                                                A To the best of my recollection, I don't
 9
        A I -- I don't recall the exact numbers.       9
                                                             recall that. There could have been. My focus
10
        Q Okay. And you had no idea how much          10
                                                             was on the P&L. I was studying the P&L to see
11
     Paramount owed the investors each month?         11
                                                             if it cash flowed.
12
        A No.                                         12
                                                                Q Okay. Was there an agenda for this
13
        Q Would it surprise you in this April of      13
                                                             meeting?
14
     2024 timeframe the amount was around 19 million 14         A The agenda was to show that Paramount
15
     dollars?                                         15
                                                             could support the payments.
16
        A Nineteen million? It is not surprising      16
                                                                Q And I apologize. I mean a physical
17
     or -- I mean, I -- I have no knowledge of how    17
                                                             written document.
18
     much the payments due were.                      18
                                                                A No.
19
        Q And this P&L that you looked at that        19
                                                                Q Okay. So the only document used or
20
     Daryl presented to you, did it show operating    20
                                                             created about the meeting was this P&L?
21
     income from ATMs in excess of 19 million         21
                                                                A Yes.
22
     dollars?                                         22
                                                                Q Did he follow up with any written
23
        A He had -- the way it was presented,         23
                                                             communications?
24
     Josh, is he showed the operating income and then 24        A No. I resigned the next day.
25
     what the payments due were and it exceeded what 25         Q And the reason you resigned the next day
                                                 Page 45                                                      Page 47
 1
     the payments due were. I just don't recall        1
                                                             was?
 2
     either of those amounts.                          2
                                                                 A All of the reasons I previously
 3
        Q Before we -- well, let's -- before we        3
                                                             mentioned.
 4
     leave this meeting, what questions did you have 4           Q But not because you were concerned that
 5
     of Daryl Heller?                                  5
                                                             there was a Ponzi scheme?
 6
        A At that meeting?                             6
                                                                 A Correct. At that point, he -- at that
 7
        Q Yes, sir.                                    7
                                                             point, he showed me that it was going to cash
 8
        A I think I for the most part listened.        8
                                                             flow, so I felt better honestly.
 9
        Q Did you come away satisfied that             9
                                                                 Q You feel the same way now?
10
     Paramount wasn't a Ponzi scheme?                 10
                                                                 A No.
11
        A I came away satisfied that it appeared      11
                                                                 Q How do you feel differently?
12
     that there was not a Ponzi scheme, yes.          12
                                                                 A Because a lot has transpired since
13
        Q Based solely on Daryl's representations     13
                                                             April.
14
     and that P&L?                                    14
                                                                 Q What, for example?
15
        A That is correct.                            15
                                                                 A For example, in between Thanksgiving and
16
        Q Did you do any independent examination 16          first week of December, the judgment came out.
17
     before or after that meeting to --               17
                                                             There was testimony that was given saying that
18
        A No.                                         18
                                                             there was way less ATM machines than Daryl had
19
        Q What questions did Dan Burkholder have? 19         represented.
20
        A I don't recall. He -- same thing that       20
                                                                   I never suspected any of that was going
21
     he would have done most of the listening. I      21
                                                             to be the case. As a matter of fact, I thought
22
     don't recall any specific questions.             22
                                                             Daryl was going to sell Paramount for a half a
23
        Q Okay. So to clarify some questions from 23         billion dollars and make everybody whole.
24
     before, you don't recall an in-person meeting at 24         Q Why did you think he was going to sell
25
     anyone's home to discuss these matters?          25
                                                             it for half a billion dollars?
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 1      A Because he communicated that to me.                1
                                                                 records.
 2      Q Who was he selling it to?                          2
                                                                    Q And you asked Daryl for those records?
 3      A I don't know. That I don't know.                   3
                                                                    A Correct.
 4      Q When did he communicate this?                      4
                                                                    Q And what was his response?
 5      A So when I left Heller Capital, I still             5
                                                                    A Get them. Yep. No problem. I'll get
 6   did consulting work for Glorious; and Daryl was         6
                                                                 them to you.
 7   an active board member on Glorious at that time.        7
                                                                    Q But he never supplied them?
 8         And he -- he was telling me that he was           8
                                                                    A Never supplied them.
 9   going to sell Paramount. He was in the process          9
                                                                    Q Did you see money from an entity called
10   of trying to sell Paramount.                           10
                                                                 Silverview Credit Partners?
11         Somewhere between maybe May and                  11
                                                                    A Yeah. I believe, yes.
12   November, beginning of November, he told me that       12
                                                                    Q How about an entity -- I don't know the
13   he was in active discussions to sell Paramount.        13
                                                                 full name but I know it as Reliance?
14      Q So the sale -- and I probably just                14
                                                                    A No. Not that I recall.
15   misheard it but let's make sure the transcript         15
                                                                    Q How about Deerfield?
16   is clear.                                              16
                                                                    A I never saw the money, but I have heard
17         When Daryl told you something was going          17
                                                                 that name before.
18   to be sold for half a billion dollars, he was          18
                                                                    Q Was that one of the entities you were
19   talking about Paramount?                               19
                                                                 asking about when you were asking Daryl?
20      A Correct.                                          20
                                                                    A I don't recall that. I have seen
21      Q Not Heller Capital?                               21
                                                                 Deerfield through a lawsuit that came out
22      A Correct.                                          22
                                                                 through Glorious. That is how I saw that name.
23      Q And when was this discussion?                     23
                                                                    Q How about an entity called Fundonatic?
24      A I didn't talk to Daryl that often.                24
                                                                    A Don't recall that name.
25   Probably maybe like once every 30 days, every 45       25
                                                                    Q Web Bank?
                                                  Page 49                                                      Page 51
 1
     days in my capacity of doing consulting work for        1
                                                                    A I don't recall that name.
 2
     Glorious because I was doing work directly to           2
                                                                    Q We Bank?
 3
     the board of Glorious.                                  3
                                                                    A What was it?
 4
           And in those conversations, Daryl had             4
                                                                    Q We Bank. W-e Bank?
 5
     mentioned to me probably like twice maybe that          5
                                                                    A No. Don't recall that.
 6
     he was going to sell Paramount for the half a           6
                                                                    Q And I apologize if I'm asking this
 7
     billion dollars.                                        7
                                                                 twice.
 8
        Q These were oral discussions? Text                  8
                                                                      Did he ever supply the documentation
 9
     discussions?                                            9
                                                                 that you asked for?
10
        A Right, oral.                                      10
                                                                    A He did not.
11
        Q Before we took a break, you said you              11
                                                                    Q Do you know if he supplied it to
12
     started seeing deposits into Heller's bank             12
                                                                 anybody?
13
     account and I want to get a clarification on           13
                                                                    A I do not.
14
     that.                                                  14
                                                                    Q As I recall, I think you said Dana
15
           When you say Heller's, do you mean               15
                                                                 Schlicker was asking for it as well. Your
16
     Heller Capital?                                        16
                                                                 understanding is she didn't receive it either?
17
        A Correct.                                          17
                                                                    A Not before I left.
18
        Q Okay. And who were the deposits from?             18
                                                                    Q Did Daryl give you an explanation of why
19
        A I don't recall.                                   19
                                                                 he had a five-million-dollar tax liability?
20
        Q Were they -- did you understand them to           20
                                                                    A Well, I know why. He -- his tax return
21
     be loans?                                              21
                                                                 calculated a five-million-dollar tax liability.
22
        A I didn't understand them -- I didn't              22
                                                                    Q I asked a poor question.
23
     know the nature. That is why we were asking for        23
                                                                      Why was it unpaid? Did he explain why
24
     the documentation. I didn't know how to record         24
                                                                 it was unpaid?
25
     them on the books without the -- without the           25
                                                                    A He did not.
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 1
         Q Did you have discussions -- let's keep           1
                                                                those two entities because they are mature
 2
     it in this timeframe; early '24 up to April of         2
                                                                profitable full C-Suite entities.
 3
     '24 discussions with anybody else about                3
                                                                      I need you to focus on startups and
 4
     Paramount being a Ponzi scheme?                        4
                                                                troubled entities. So that would have been like
 5
         A Up until April of '24, did I have                5
                                                                2019.
 6
     discussions with anybody about a Ponzi scheme?         6
                                                                      I'm sorry. It would have been 2020
 7
     No.                                                    7
                                                                because my first year and a half, I was 100
 8
         Q How about since that time?                       8
                                                                percent in Michigan.
 9
         A No.                                              9
                                                                   Q Did you ever ask again?
10
         Q When you are at Heller Capital, did you         10
                                                                   A I did not.
11
     have access to its books and records generally?       11
                                                                   Q Were you satisfied with his response?
12
         A Yes.                                            12
                                                                   A I was.
13
         Q What records -- let's -- by class did           13
                                                                   Q You felt you were able to perform your
14
     you access to?                                        14
                                                                role as CFO of Heller Capital without that
15
         A Clarify that for me.                            15
                                                                information?
16
         Q Financials? Corporate minutes?                  16
                                                                   A I did, yes.
17
     Ledgers?                                              17
                                                                   Q Felt comfortable reporting financial
18
         A Yeah. I had full access to the                  18
                                                                results from those entities on management
19
     financial statements.                                 19
                                                                reports among other things?
20
         Q Anything you were excluded from?                20
                                                                   A I didn't report financial results from
21
         A Specifically with Heller Capital Group?         21
                                                                those entities.
22
     No.                                                   22
                                                                   Q Well, for Heller Capital, sir.
23
         Q Well, is there anything that Daryl ever         23
                                                                   A Yes, for Heller Capital.
24
     stopped you from getting besides the loan             24
                                                                   Q You felt comfortable reporting earnings
25
     documents that we just discussed? Anything            25
                                                                or liabilities on those entities on the Heller
                                                 Page 53                                                      Page 55
 1
     else?                                                  1
                                                                Capital management report?
 2
        A I never saw financials for Prestige. I            2
                                                                   A One hundred percent, yes.
 3
     never saw financials for Paramount.                    3
                                                                   Q Without seeing the underlying
 4
        Q Is that because Daryl didn't give them            4
                                                                documentation?
 5
     to you?                                                5
                                                                   A It would be based on transactions that
 6
        A Because I didn't have responsibility              6
                                                                existed between Heller Capital and Paramount.
 7
     there.                                                 7
                                                                So with distributions and dividends, those type
 8
        Q Did you want those?                               8
                                                                of things, 100 percent.
 9
        A I got the tax returns.                            9
                                                                      MR. BOYLE: I think you two are talking
10
        Q Well, that wasn't my question.                   10
                                                                about two different things.
11
        A Okay.                                            11
                                                                      THE WITNESS: Okay. I'm sorry.
12
        Q Did you want those?                              12
                                                                BY MR. VOSS:
13
        A At one point, I probably would have              13
                                                                   Q What documents do you have now that
14
     liked to have seen them.                              14
                                                                were -- that belonged to Heller Capital Group?
15
        Q It sounds like your answer is yes.               15
                                                                   A I don't have any documents.
16
        A Yes.                                             16
                                                                   Q Did you ever personally hold documents
17
        Q Yes, you wanted them?                            17
                                                                of Heller Capital, meaning at your home,
18
        A At one point.                                    18
                                                                personal computer?
19
        Q What was that point?                             19
                                                                   A While I worked for Heller, I mean, I
20
        A When I started working for Heller                20
                                                                worked from my home.
21
     Capital.                                              21
                                                                   Q All right.
22
        Q And who did you ask for them?                    22
                                                                   A Yeah.
23
        A Daryl.                                           23
                                                                   Q I'm really looking for materials on
24
        Q And what did he say?                             24
                                                                personal resources.
25
        A He said you don't need to worry about            25
                                                                      Did you have a laptop? External hard
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 1
     drive? Flash drive? Printed files?               1
                                                             formalities?
 2
        A I worked from home, and I had a laptop.     2
                                                                A I don't know.
 3
        Q Where is that laptop now?                   3
                                                                Q Do you know if Daryl Heller used
 4
        A I use it.                                   4
                                                             Paramount money for personal purposes?
 5
        Q Heller Capital gave you that laptop?        5
                                                                A I don't know.
 6
        A They did.                                   6
                                                                Q Do you know if he used Paramount money
 7
        Q And at one point in time that laptop had    7
                                                             for other company purposes, meaning he used
 8
     Heller Capital files on it?                      8
                                                             Paramount money for Glorious or for his
 9
        A It did.                                     9
                                                             restaurant or for any other entity within that
10
        Q Where are those files now?                 10
                                                             Heller universe?
11
        A I completely wiped the computer clean.     11
                                                                A So Paramount would make it so Heller
12
        Q When was that?                             12
                                                             Capital would ask for a distribution from
13
        A When I resigned.                           13
                                                             Paramount and the distribution would come into
14
        Q Were you instructed to do that?            14
                                                             Heller and Daryl would disburse money out for
15
        A Nope. No.                                  15
                                                             other investments. That would happen on a
16
        Q You did that on your own?                  16
                                                             regular basis.
17
        A I did.                                     17
                                                                Q Were those distributions for Paramount's
18
        Q What do you mean by you wiped it clean? 18         benefit?
19
        A I just did a factory reset to put new      19
                                                                A They would have been for the benefit of
20
     software on it and be able to use the computer. 20      Daryl Heller.
21
        Q Any printed materials?                     21
                                                                Q Okay. Were they required by some sort
22
        A No.                                        22
                                                             of contract between Paramount and Heller Capital
23
        Q All right. Let's talk about Paramount      23
                                                             or some agreement?
24
     now.                                            24
                                                                A Daryl owned 83 percent of Paramount.
25
          Were you generally familiar with           25
                                                                Q So fair to say if he asked for money
                                                 Page 57                                                      Page 59
 1
     Paramount?                                     1
                                                             from Paramount, he got it?
 2
        A You mean familiar in a sense I know they 2            A Yes.
 3
     were a portfolio company? I know Dennis and    3
                                                                Q Did you think those withdrawals or
 4
     Randall.                                       4
                                                             distributions or whatever you described them as
 5
        Q What did you understand Paramount's       5
                                                             were always reasonable?
 6
     business to be?                                6
                                                                A Yes.
 7
        A ATMs. So they were -- they would          7
                                                                Q What -- what -- what gave you that
 8
     service ATM networks.                          8
                                                             comfort?
 9
        Q Did you understand Daryl to be an         9
                                                                A Seeing that the K-1 that would come out
10
     officer in that company?                      10
                                                             every year for Paramount. So the 25 million
11
        A Yes.                                     11
                                                             dollars was the K-1 income to Heller Capital in
12
        Q What did you think his role was?         12
                                                             2022.
13
        A Chairman of the Board possibly, yeah.    13
                                                                Q Did you ever become aware that operating
14
        Q What do you think -- what was your       14
                                                             revenue from Paramount was being removed by
15
     understanding of what did he as Chairman?     15
                                                             Daryl Heller?
16
        A Set the strategic direction.             16
                                                                A No.
17
        Q What does that mean?                     17
                                                                Q How did Paramount make money?
18
        A Just visionary, like where -- where the  18
                                                                A They made money by the service fees that
19
     company is going tomorrow.                    19
                                                             were on the ATM machines.
20
        Q Okay. Did he control Paramount's         20
                                                                Q You mean the transaction fee?
21
     finances?                                     21
                                                                A Yes.
22
        A I don't know.                            22
                                                                Q What did it do to earn its portion of
23
        Q Who would know that?                     23
                                                             those fees?
24
        A I would assume Dennis and Randall.       24
                                                                A A vague -- a general understanding of
25
        Q Do you know if Paramount filed corporate 25        what they did. They managed the network and
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 1   picked up cash at the ATMs and they made sure           1
                                                                    Q So these -- the notes that you described
 2   the ATMS had enough cash when people were taking        2
                                                                 from -- from that Heller Capital owed to
 3   money out of the ATMs, repairs and maintenance          3
                                                                 Paramount were documented only in the books?
 4   on them. They serviced the ATMs. That was --            4
                                                                    A Correct.
 5   that was my understanding.                              5
                                                                    Q And when you say the books, what do you
 6      Q To your knowledge, was ATM revenue                 6
                                                                 mean specifically?
 7   alone, so the service fees, sufficient to cover         7
                                                                    A Balance sheet.
 8   Paramount's liabilities?                                8
                                                                    Q Balance sheet.
 9      A I don't know.                                      9
                                                                      Anywhere else?
10      Q Who would know that?                              10
                                                                    A No.
11      A People who worked the Paramount, like I           11
                                                                    Q Is the terminology there due to/due
12   would say, Dennis and Randall.                         12
                                                                 from?
13      Q And when you say Dennis, Dennis Ream?             13
                                                                    A Or no payable/no receivable.
14      A Correct.                                          14
                                                                    Q So I'll skip -- we'll skip down here.
15      Q And Randall Leaman?                               15
                                                                      Are you aware of PowerCoin owing money
16      A Correct.                                          16
                                                                 to Paramount?
17      Q Are you aware of payments to Heller               17
                                                                    A I'm not, no.
18   Capital from Paramount?                                18
                                                                    Q Are you aware of Heller Capital loaning
19      A From Paramount to Heller Capital?                 19
                                                                 money to Paramount in 2024?
20      Q Yes.                                              20
                                                                    A Heller Capital loaning to Paramount?
21      A Yes.                                              21
                                                                 No.
22      Q What types of payments?                           22
                                                                    Q Would that seem unusual to you?
23      A Strictly dividends.                               23
                                                                    A Yes.
24      Q Anything else?                                    24
                                                                    Q Why?
25      A Distributions and sometimes Daryl would           25
                                                                    A Because the money typically flowed the
                                                  Page 61                                                      Page 63
 1
     put it, he put it as a note that he would owe           1   other way.
 2
     the money back to Paramount.                            2      Q To your knowledge, what is the most
 3
           And what he told me there, Josh, is that          3   number of ATMs that Paramount ever had online?
 4
     these were amounts that were above his 83               4      A I don't know.
 5
     percent.                                                5      Q Do you know how many it owned anywhere?
 6
        Q How often did that happen?                         6   Online? Warehouse?
 7
        A Not often.                                         7      A I don't.
 8
        Q Let's go for an estimate.                          8      Q Okay. Do you know why Paramount failed?
 9
           More than ten times?                              9      A I don't.
10
        A Over five years, yes.                             10      Q As you sit here today, do you believe it
11
        Q More than 100 times?                              11   was a Ponzi scheme?
12
        A Maybe. I don't know.                              12      A I don't know.
13
        Q Were those notes documented in some kind          13      Q Okay. All right. I want to talk about
14
     of way?                                                14   Raw.
15
        A So we always made sure that between the           15         Did Paramount have a receivable with
16
     two companies records that they always balanced        16   Raw?
17
     out.                                                   17      A Paramount would have had a receivable
18
           If we had a payable on our books, we             18   with Raw, correct.
19
     always made sure the receivable on Paramount's         19      Q Okay. How is that documented?
20
     books matched.                                         20      A There was like a -- there was an open
21
        Q Other than the book matching that you             21   line of credit agreement.
22
     just described, was there a formal note                22      Q So this -- this one was a formal
23
     contract? Some formal document that says IOU?          23   agreement?
24
        A Not to my knowledge. I don't believe              24      A Yeah. There was a note. There was a
25
     so.                                                    25   note.
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 1
        Q Who had the note?                                 1
                                                                   A I'm going to say it was like 2019.
 2
        A So that would have been -- that would             2
                                                                   Q When do you think this ownership change
 3
     have been on Raw's books as well as on                 3
                                                                happened?
 4
     Paramount's books.                                     4
                                                                   A '22ish.
 5
        Q So again, we are talking about balance            5
                                                                   Q Okay. To your knowledge, did Paramount
 6
     sheets?                                                6
                                                                loan money to Raw for this receivable -- or this
 7
        A Correct.                                          7
                                                                note? Excuse me.
 8
        Q When you say there is a note, there is            8
                                                                   A Paramount loaned money to Raw, yes.
 9
     not a formal document saying IOU?                      9
                                                                   Q Do you know how much that was?
10
        A I remember there being a note, a formal          10
                                                                   A Yeah. So the financials at the end of
11
     document.                                             11
                                                                12/31/24, the note was like 21 million dollars
12
        Q You saw it?                                      12
                                                                at that point in time.
13
        A Yes.                                             13
                                                                   Q 12/31/2024?
14
        Q Who were the parties to that?                    14
                                                                   A Correct.
15
        A It would have had to have been Paramount         15
                                                                   Q The number you said again?
16
     and Raw.                                              16
                                                                   A Twenty-one million.
17
        Q And when we say Raw, can you tell me the         17
                                                                   Q And how do you know that number?
18
     full name of the entity?                              18
                                                                   A Because I work with Glorious
19
        A Yeah. It was Raw Ventures. It was Raw            19
                                                                religiously. That was my No. 1, you know, that
20
     Ventures, LLC.                                        20
                                                                was my, you know, priority when I worked for
21
        Q Is that a Michigan entity?                       21
                                                                Heller Capital.
22
        A I believe it was.                                22
                                                                      And when I left Heller Capital, I
23
        Q Okay. When was this note -- this formal          23
                                                                continued to work for them until the end of the
24
     note executed? Signed?                                24
                                                                year.
25
        A Somewhere between 2020 and 2022.                 25
                                                                   Q End of the year of 2024?
                                                 Page 65                                                      Page 67
 1
        Q How much was it for?                              1      A Correct.
 2
        A It was an open-ended line of credit.              2      Q Glorious has -- well, let's try this.
 3
        Q Who -- what -- what did Raw Ventures do?          3        How did the money from Raw to
 4
        A That is -- they were just set up to be            4   Glorious -- how was it documented? Was it a
 5
     the passthrough entity for the loan money coming       5   note?
 6
     in.                                                    6      A Yeah. So there would have been a note
 7
          So Raw would receive the money and Raw            7   between Raw and the Glorious entity.
 8
     would distribute it out to the various entities        8      Q A single Glorious entity?
 9
     in Glorious whether they needed it for                 9      A I don't recall.
10
     operations or capital expenditures.                   10      Q And is this one a formal note or is this
11
        Q Who were the owners of Raw Ventures,             11   a bookkeeping note like we described before?
12
     LLC?                                                  12      A I believe it was a written note.
13
        A At the time, when it was first                   13      Q Who were the signatories to that?
14
     established it was Will Stoltzfus. And then at        14      A I don't recall.
15
     sometime after it was formed, Daryl became the        15      Q When was it created?
16
     sole owner.                                           16      A Pretty much around the same time that
17
        Q Daryl personally?                                17   the other note was created. So I would say
18
        A I believe it was him personally.                 18   somewhere between, you know, '20 and '22.
19
        Q Daryl Heller personally owned 100                19      Q What document or documents showed the 21
20
     percent of Raw Ventures at one point in time?         20   million dollars that Glorious received from Raw
21
        A Correct.                                         21   as of 12/3/24?
22
        Q Not Heller Capital?                              22      A The balance sheet.
23
        A Correct.                                         23      Q Of what?
24
        Q When was -- when was the entity formed           24      A Of Glorious. Of the consolidated
25
     to your knowledge?                                    25   Glorious entities.
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 1
        Q I'm going to see if we can really drill    1          shareholders were invested in that company.
 2
     down to that. Maybe we can do this without      2                Tycoon 1 RE was a real estate entity.
 3
     marking it. I want you to look at Page 2 of     3          That is where the deed -- the property was
 4
     this document.                                  4          deeded inside that entity.
 5
           MR. VOSS: Let's call this 2.              5             Q You worked -- this consulting work you
 6
           (Rynearson Exhibit No. 2 was marked for 6            did for Glorious, was it on behalf of all --
 7
     identification.)                                7             A Yes.
 8
     BY MR. VOSS:                                    8             Q -- 24 of these entities?
 9
        Q Mr. Rynearson, I will represent to you     9                Just was it on behalf of all 24 of these
10
     this is a proof of claim for a case that is    10          entities?
11
     proceeding in Michigan State Court.            11             A Yes. Sorry.
12
        A Okay.                                     12             Q When did that work end?
13
        Q I really just want to direct your         13             A End of the year. End of 2024.
14
     attention to Page 2 of this document that has 14              Q And you had access to the balance sheet?
15
     been marked Rynearson 2.                       15             A Yeah. The consolidated financials.
16
           Do you see all of the entities listed in 16             Q And if I were to ask for that document
17
     Question No. 3?                                17          from one or more of these entities, what
18
        A I do.                                     18          specifically would I be asking for?
19
        Q Do you know those entities collectively 19               A You would be asking for the
20
     as Glorious?                                   20          consolidating financials for Glorious. Let me
21
        A I do.                                     21          give you the exact name, but it would be GCC MSO
22
        Q Okay. So this 21-million-dollar note      22          Holdings.
23
     from Raw to Glorious, which of these entities 23              Q That is the entity at the top?
24
     received -- are on that note?                  24             A That is the entity at the top.
25
        A That, I'm not going to be able to         25             Q That is one of these 24 entities?
                                                 Page 69                                                      Page 71
 1   identify for you, unfortunately. Just know that        1      A That is correct. It is the second one
 2   some of it is going to add up to 21 million --         2   on that list there.
 3   21 million dollars.                                    3      Q I see.
 4      Q If I have done my math, there are 24              4        And you said Consolidating.
 5   entities listed in Question 3. Did all 24 of           5      A Yeah, i-n-g.
 6   these receive this 21 million dollars?                 6      Q Financials for GCC MSO Holding, LLC
 7      A I don't know how to answer that                   7   would reflect this 21-million-dollar balance
 8   question. So the 21 million dollars was -- this        8   owed to Raw?
 9   operated as one company.                               9      A Correct.
10         Just to kind of give you a perception of        10      Q And if 21 million came from Raw to
11   how -- this is one big company. Okay? They are        11   Glorious as a group, they all would have
12   all like different operating entities with            12   benefited from it?
13   inside of the one big company.                        13      A Yes.
14         So if Premiere -- or let me say this --         14      Q And it would have been a liability of
15   Tycoon needed money, Tycoon would get money from      15   all 24 of these entities?
16   Raw.                                                  16      A The liability would have been specific
17      Q Well, you say Tycoon, which Tycoon?              17   to who owed the money; but collectively, it
18   There is Tycoon Holdings. There is Tycoon 1 RE.       18   would have added up to 21 million dollars.
19   There is Tycoon 1 Operations?                         19      Q Okay. Were there any officers in Raw --
20      A So Tycoon -- so Tycoon 1 Operations              20   were there any officers in Raw?
21   would have been the actual operating entity           21      A No.
22   itself.                                               22      Q So it is just Daryl as an owner?
23      Q Oh, I see that one. Okay.                        23      A Correct.
24      A Tycoon Holdings would have just simply           24      Q Okay. Does it strike you unusual that
25   been that, a holding company where the original       25   an ATM company was loaning 21 million dollars to
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 1
     a cannabis enterprise in Michigan?                     1      Q Would it be money -- was it a loan?
 2
        A It didn't.                                        2      A It would be part of that 21 million.
 3
        Q What was the explanation given for why            3      Q Part of the 21 million. Great.
 4
     that loan was made?                                    4      A So it was part of that 21 million.
 5
        A Paramount was cash flowing and Daryl              5      Q You jumped the end. It saved me several
 6
     would send the money to Glorious to make -- so         6   steps. I appreciate that.
 7
     Glorious could continue to grow and meet its           7      A Okay.
 8
     capital requirements.                                  8      Q Was Daryl an owner of GCC MSO Holdings?
 9
        Q Whose decision was it to loan that                9      A He would -- he was an owner in GCC
10
     money --                                              10   Investment Holdings, the very first one. So
11
        A Daryl.                                           11   that was the -- so the two entities, GCC
12
        Q -- from Paramount to Raw --                      12   Investment Holdings and Choice Holdings, LLC,
13
           MR. BOYLE: Let him finish.                      13   those are the two entities that come up to form
14
           THE WITNESS: I'm sorry.                         14   GCC MSO Holdings. Does that make sense?
15
     BY MR. VOSS:                                          15      Q It does.
16
        Q Whose decision was it to loan that money         16         Was he an officer in -- let's start with
17
     from Paramount to Raw?                                17   the first three.
18
        A Daryl.                                           18         GCC Investment Holdings, LLC, was he an
19
        Q And whose decision was it to give that           19   owner there?
20
     money from Raw to Glorious?                           20      A He -- Heller Investment Holdings had
21
        A That would -- Daryl would have been at           21   membership/ownership in GCC Investment Holdings.
22
     the board level at that point in time. So the         22      Q Do you know what the percent was?
23
     operating entity would request funding, you           23      A Yeah, it was like -- it was about 25
24
     know, we need money for operations. We need           24   percent directly. And then there was another
25
     money for strategic growth.                           25   like three or four points that he owned
                                                 Page 73                                                      Page 75
 1
            And then so Daryl would say, okay, and   1          indirectly through other members that were on
 2
     he would go and talk with Paramount and         2          that cap table.
 3
     Paramount would send the money to Raw and then 3                 So Heller Investment Holdings had by
 4
     Raw would send the money to the operating       4          itself right on the cap table Heller Investment
 5
     entity.                                         5          Holdings, 25 percent.
 6
        Q Did Paramount ever give money directly     6                And then there was Halo RE -- Halo RE
 7
     to Glorious?                                    7          and that was like three -- three points that
 8
        A The only time that that would happen was   8          Daryl would -- Heller Investment Holdings would
 9
     when it was like, hey, I need the money right   9          have owned through that entity because it was on
10
     now. Like, I need it today.                    10          that entity's cap table.
11
        Q That was a yes?                           11             Q Was Heller Capital on the cap table?
12
        A Yes.                                      12             A Yes.
13
        Q When was that done --                     13             Q Same question regarding GCC MSO Holding.
14
            MR. BOYLE: Take a second and let him    14          Was HIH an owner there?
15
     finish before you talk.                        15             A Seventy percent. Hold on. GCC
16
     BY MR. VOSS:                                   16          Investment Holding was a 70 percent of GCC MSO
17
        Q When -- was that -- how many times was    17          Holding.
18
     that done?                                     18             Q Oh, I see.
19
        A I don't know.                             19                And then Choice Holdings, what was the
20
        Q When was it done that you are aware of?   20          ownership structure?
21
        A I -- I don't know when it was done.       21             A Thirty percent to GCC MSO Holding.
22
     It -- I don't know.                            22             Q Why were there so many tiers of entities
23
        Q But you do believe that at some point     23          here?
24
     Paramount gave money directly to Glorious?     24             A Because that is the -- that is the --
25
        A Yes.                                      25          that was the advice that we were given by legal
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 1
     counsel.                                               1
                                                                   Q Would the financials reflect this debt?
 2
        Q Okay. We will stop there.                         2
                                                                   A Yes.
 3
           What -- GCC Investment, you had HIH at           3
                                                                       MR. VOSS: I will call for production of
 4
     25, 3 to 4 percent through Halo RE.                    4
                                                                those financials as well counsel.
 5
           Do you know who the balance of owners            5
                                                                       MR. BOYLE: Same answer.
 6
     are of GCC Investment Holdings?                        6
                                                                BY MR. VOSS:
 7
        A GCC Investment Holding was 100 percent            7
                                                                   Q Do you need a break?
 8
     owned by Daryl Heller when I left.                     8
                                                                   A I'm good.
 9
           I'm sorry. What did you ask me? I                9
                                                                   Q Okay. I'm hoping we can go fast, but
10
     don't think I answered that question right.           10
                                                                let's -- those are famous last words.
11
        Q Yeah. I think I got my numbers turned            11
                                                                       MR. VOSS: What are we up to?
12
     around here.                                          12
                                                                       THE REPORTER: Three.
13
           GCC Investment Holdings --                      13
                                                                       (Rynearson Exhibit No. 3 was marked for
14
        A GCC Investment Holdings is a 70 percent          14
                                                                identification.)
15
     owner of --                                           15
                                                                BY MR. VOSS:
16
        Q I'm just asking about that entity.               16
                                                                   Q I'm handing you, the witness, what is
17
           Who is inside it as an owner?                   17
                                                                marked Rynearson 3 titled management report
18
        A There is 50 people. Fifty different              18
                                                                Heller Capital Group, LLC for the period ended
19
     entities.                                             19
                                                                July 31, 2022.
20
        Q And what percent of that entity is HIH?          20
                                                                       Sir, do you recognize that document?
21
        A The number that I gave you is the number         21
                                                                       And if it helps, the pages are numbered
22
     inside of HIH.                                        22
                                                                in the corner RL and then the numbers, if you
23
        Q Okay. I think our time is maybe better           23
                                                                jump to RL6, you will see your name, your
24
     spent by me requesting this from people who have      24
                                                                typewritten name and digital signature that may
25
     these documents.                                      25
                                                                or may not be yours.
                                                 Page 77                                                      Page 79
 1
         A I can give it to you, Josh. I do know            1
                                                                     Do you see that?
 2
     this. I'm sorry if I'm making it confusing.            2
                                                                   A I do.
 3
         Q No. The memory test is probably a                3
                                                                   Q Do you recognize this document?
 4
     little strained here, but fair to say HIH and/or       4
                                                                   A I'm not recalling it, honestly.
 5
     Daryl Heller and/or both is inside one of these        5
                                                                   Q Is it possible that it is something you
 6
     -- each of these first three?                          6
                                                                created?
 7
         A They are 100 percent GCC Investment              7
                                                                   A It is possible.
 8
     Holdings. That is where HIH resides is in GCC          8
                                                                   Q I'll direct your attention to RL16, your
 9
     Investment Holdings and he owns 25 percent of          9
                                                                printed name and title and digital signature
10
     GCC Investment Holdings.                              10
                                                                appears there as well.
11
         Q Do you personally right now possess             11
                                                                     Does that look like something that you
12
     paperwork that would reflect those ownership          12
                                                                would have affixed to this document?
13
     structures?                                           13
                                                                   A It is odd, Josh. I don't ever recall
14
         A I believe I do.                                 14
                                                                doing that.
15
            MR. VOSS: I'm going to call for                15
                                                                   Q Is it possible this document was created
16
     production on that. And, Counsel, if you need a       16
                                                                without your review?
17
     subpoena, I'm glad to issue a subpoena for that.      17
                                                                   A It is possible.
18
            MR. BOYLE: I believe you do. Search            18
                                                                   Q Do you know what this thing is?
19
     for it and give it to me and I will give it to        19
                                                                   A Sure. This would be a report right out
20
     you. We do not need a subpoena.                       20
                                                                of QuickBooks. It would be a report right out
21
     BY MR. VOSS:                                          21
                                                                of QuickBooks.
22
         Q Okay. The 21-million-dollar note                22
                                                                   Q This was a document that was created --
23
     reflected on consolidating financials, do you         23
                                                                documents like these, not this one in
24
     have that document?                                   24
                                                                particular, documents like these, is that
25
         A I would have the financials.                    25
                                                                something that you create in the ordinary course
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 1
     of your duties at Heller Capital Group?           1     It is really odd.
 2
        A Not often. I mean, we would create a         2         Q I was hoping to direct you to some lines
 3
     management report but not very often. We just 3         on this document but let's see if you are able
 4
     typically would print out the balance sheet and   4     to answer --
 5
     P&L straight out of QuickBooks.                   5         A Okay.
 6
        Q Any idea what this was created for?          6         Q -- based on the set up there.
 7
        A That is what I -- this is very odd.          7            Again, I'm going to refer to the numbers
 8
     This is something that was not done on a regular 8      in the corner. RL0004, which happens to be Page
 9
     basis.                                            9     4 of the 16-page document and I'm going to hold
10
           It is odd that it is January through       10     up mine so you can see where I am at here.
11
     July. It is super odd that I have my signature   11            About halfway the down the page, there
12
     on the end there. I don't ever recall doing      12     is something that say Paramount MGM fee. Do you
13
     that.                                            13     see that?
14
        Q Is that your signature on Page 6?           14         A Yes.
15
        A Yes.                                        15         Q And you see there is an amount there
16
        Q But it is a digital version that could      16     that says $94,050?
17
     be applied by whoever had it?                    17         A Yes.
18
        A Correct.                                    18         Q What was that for?
19
        Q Was that signature available to others      19         A So that would have been the monthly
20
     within Heller Capital?                           20     fees, the monthly Heller Capital fees that would
21
        A It could have been.                         21     go out to the portfolio companies for the
22
        Q Do you believe this document to be          22     services that the Heller Capital Group employees
23
     fraudulent?                                      23     provided.
24
           MR. BOYLE: I'm going to object to the      24         Q What services did Heller Capital provide
25
     form of the question since that is a term of --  25     for Paramount?
                                                 Page 81                                                      Page 83
 1
     legal term of art.                               1
                                                                A Accounting, finance, HR, IT, legal. We
 2
            Do you mean that specifically as a legal  2
                                                             would help them with legal.
 3
     fraud or are you using it in the common          3
                                                                Q Let's go to RL0007 and I'm going to hold
 4
     vernacular?                                      4
                                                             up mine so you can see it, the top third there
 5
            MR. VOSS: I think my question goes to     5
                                                             is a line that says due from Paramount 37 --
 6
     the witness whose name is on this several times 6       $375.86.
 7
     doesn't recognize the document and I think in    7
                                                                   Do you see that?
 8
     common parlance, let's set aside this, the       8
                                                                A I do.
 9
     evidence of a tort --                            9
                                                                Q Any idea what that would be?
10
            MR. BOYLE: That is fine.                 10
                                                                A No.
11
     BY MR. VOSS:                                    11
                                                                Q De minimus.
12
         Q Does this look fraudulent to you? Is it   12
                                                                   Let's jump to RL0011. RL0011.
13
     not something that you prepared that shouldn't 13             And at this point in the document, we
14
     be represented as something you prepared?       14
                                                             are pretty far past the header. So if you need
15
         A So the financial presentation itself      15
                                                             to flip back to understand what you are looking
16
     looks reasonable to me, like the information as 16      at, that is fine.
17
     it is presented.                                17
                                                                A Thank you.
18
         Q Have you ever seen another management 18             Q But my question concerns a box at the
19
     report?                                         19
                                                             top bolded under total investment Paramount
20
         A From Heller Capital?                      20
                                                             Management Group, LLC, and then there is a sum
21
         Q Correct.                                  21
                                                             there of 73.3 million dollars and some
22
         A I'm sure I have.                          22
                                                             particulars.
23
         Q Would your signature have been on those? 23             Do you see that?
24
         A It is really odd. I don't ever recall     24
                                                                A I do.
25
     putting my signature on financial statements.   25
                                                                Q What does that sum represent? What is a
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 1
     total investment in Paramount?                          1
                                                                     Q So just straight gave you a number?
 2
         A So that would represent what Daryl --             2
                                                                     A Correct.
 3
     Daryl would fair market value his investment            3
                                                                     Q It wasn't a worksheet or an Excel or
 4
     portfolio because these were all privately held         4
                                                                 anything to document it?
 5
     investments.                                            5
                                                                     A Not to me.
 6
           He would fair market value his                    6
                                                                     Q Okay. Would somebody else within Heller
 7
     investment portfolio. So that adjustment would          7
                                                                 Capital?
 8
     represent the amount above the capital invested.        8
                                                                     A No.
 9
         Q Is the representation here that as of             9
                                                                     Q Somebody else anywhere?
10
     July 31, 2022, Paramount was worth 73.3 million        10
                                                                     A No.
11
     dollars?                                               11
                                                                     Q Do you have any idea what his
12
         A Yeah.                                            12
                                                                 methodology was?
13
         Q Again, consult the report as much as you         13
                                                                     A Not specifically. I could surmise or
14
     need.                                                  14
                                                                 take a guess.
15
         A Yeah. Sure. Give me one sec.                     15
                                                                     Q I will take an educated guess here.
16
     It is not tying exactly. It is close, Josh.            16
                                                                     A He would have looked at the operating
17
           What I'm looking at is on Page RL0013.           17
                                                                 cash flow of the business and put a multiple on
18
     There is a fair market adjustment there of 203         18
                                                                 it.
19
     million dollars.                                       19
                                                                     Q I see.
20
         Q I see that.                                      20
                                                                        I would ask you to look at RL0013.
21
         A So I would have expected that 203                21
                                                                 Again, I'm going to hold up mine so you can see.
22
     million to tie into on Page RL0012 to tie into         22
                                                                 It is three lines down there, it says N/P
23
     that 207 million that is at the top there. It          23
                                                                 Paramount/pledges and when we carry that over,
24
     is off like four million bucks.                        24
                                                                 it is $34,945,085.48.
25
         Q What does that tell you?                         25
                                                                        Do you see that?
                                                  Page 85                                                      Page 87
 1
        A That there is a reconciliation somewhere     1
                                                                    A I do.
 2
     that needs to occur.                              2
                                                                    Q What does that represent?
 3
        Q That suggests to you that you didn't, in     3
                                                                    A What I believe that represented was the
 4
     fact, create this document that has an obvious    4
                                                                 amount that was above the distribution from the
 5
     error?                                            5
                                                                 83 percent.
 6
        A It is possible, yes.                         6
                                                                    Q Is it your understanding that that sum
 7
        Q Let's toggle back to 11.                     7
                                                                 34.9 million with the additional numbers that
 8
           What is the basis for that fair market      8
                                                                 are reflected in this document was a debt owed
 9
     value? How is that calculated?                    9
                                                                 by Heller Capital Group to Paramount?
10
        A You would have to talk to Daryl Heller.     10
                                                                    A Correct.
11
     He is solely responsible for determining the     11
                                                                    Q Do you have any reason to believe that
12
     fair market value.                               12
                                                                 that had been paid off?
13
        Q I see.                                      13
                                                                    A I know that when I left I believe it was
14
           How did he communicate that                14
                                                                 down to like 11 million dollars.
15
     information -- well, I want to say to you        15
                                                                    Q Let's jump ahead to 14. And again, I'm
16
     because your name is on it.                      16
                                                                 going to hold up mine so you can see it. Maybe
17
           How is that information communicated -- 17            about six lines down there is a line called
18
     well, in general, was that information           18
                                                                 Expense Reimb due from related entities: Due
19
     communicated to you?                             19
                                                                 from Paramount $4,145.03.
20
        A It would have been.                         20
                                                                      Any idea what that is?
21
        Q How did he communicate that to you?         21
                                                                    A No.
22
        A We would have had a Teams call and we 22                  Q Okay. We will call that one de minimus.
23
     would have just went through the entities and he 23              Let's jump ahead to RL0015 and ask you
24
     would just rattle off what he thought the fair   24
                                                                 about two lines on this one. Again, I will hold
25
     market value was of each entity.                 25
                                                                 mine up so I can direct your attention, about
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 1
     half down N/P Portfolio Company/Personal: N/P          1      A The investment should go down. I should
 2
     Paramount/pledges minus 500,000.                       2   see the investment should be going down on this
 3
            What is that 500,000 there?                     3   balance sheet here.
 4
        A Let me see what that is in. That is               4      Q So that is money that Heller Capital
 5
     in -- I had a comparative balance sheet. I             5   received from Paramount?
 6
     don't know without seeing additional balance           6      A That is what I believe it is, yes.
 7
     sheet periods.                                         7      Q Okay. And that would have been, as you
 8
        Q Let me ask you this question.                     8   described it, not an additional debt but a
 9
        A It is related to the 34 million, I would          9   distribution?
10
     say.                                                  10      A Yes.
11
        Q Is this 500,000 a debt owed by Heller            11      Q Okay. We are done with that one.
12
     Capital Group to Paramount Management Group?          12         I will hand that to you so I don't get
13
        A What that would represent, Josh, is the          13   confused. I'm handing the witness what has been
14
     change in that 34 million dollars on this period      14   marked Exhibit 4, title management report Heller
15
     that is reported. So the period reported here         15   Capital Group, LLC for the period ended December
16
     is -- it is probably January 1st to July 31st,        16   31, 2021.
17
     2022.                                                 17         Mr. Rynearson, do you recognize this
18
        Q I see.                                           18   document? Same as before, I'll direct your
19
        A And so you are in a statement of cash            19   attention to -- I'm using the Bates now RL0022.
20
     flows. So what that is -- it is taking the            20   You see your printed name and digital signature?
21
     change between January 1st and the balance sheet      21      A I do.
22
     of July 31st of 2022.                                 22         (Rynearson Exhibit No. 4 was marked for
23
            That 500,000 represents the change in          23   identification.)
24
     that 34 million. So in seven months, that 34          24   BY MR. VOSS:
25
     million changed by $500,000.                          25      Q Same thing on RL0032, your name and
                                                 Page 89                                                      Page 91
 1
        Q Changed down or changed up?                       1
                                                                printed signature.
 2
        A That is a good question.                          2
                                                                     Do you recognize this document?
 3
        Q Did it -- actually, let me ask a                  3
                                                                   A I don't recall specifically this
 4
     question so the answer will make perfect sense         4
                                                                document.
 5
     to me.                                                 5
                                                                   Q Do you think you created this?
 6
          Did the debt increase by 500,000 or               6
                                                                   A I could have.
 7
     decrease by 500,000?                                   7
                                                                   Q Do you think you reviewed it?
 8
        A I would need to see the 12/31/21 balance          8
                                                                   A I don't recall. It is odd that, again,
 9
     sheet to answer that question.                         9
                                                                I'm signing off on the document. It is very
10
        Q That we can get to. So we will stick a           10
                                                                odd.
11
     pin in that pending review of that document.          11
                                                                   Q Why is that odd?
12
          And then another entry on that same page         12
                                                                   A Because it is just -- it wasn't a
13
     towards the bottom, second from the bottom,           13
                                                                standard practice.
14
     investments in portfolio companies: Investment        14
                                                                   Q Wasn't a standard practice at Heller
15
     Paramount Management Group, LLC: Tax                  15
                                                                practice or a standard accounting practice or
16
     balance-Paramount 3.85 million.                       16
                                                                both?
17
          Do you see that line?                            17
                                                                   A It wasn't a standard practice for me to
18
        A I do.                                            18
                                                                issue management reports and put my signature on
19
        Q What does that represent?                        19
                                                                the report at the end of it.
20
        A That again, if I got that 12/31 balance          20
                                                                   Q And I should ask this about the last
21
     sheet, that will help me with the 12/31/21.           21
                                                                document; but if we look at Page 1, RL00172 says
22
     That is the distribution that was provided out        22
                                                                prepared by Heller Capital Group portfolio
23
     of Paramount related to Heller Capital's 83           23
                                                                company.
24
     percent ownership.                                    24
                                                                     Do you see that?
25
        Q So we will see --                                25
                                                                   A Yes.
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 1
        Q What does that mean? What are Heller         1
                                                                   MR. BOYLE: Are you on Exhibit 3 or 4?
 2
     Capital Group portfolio companies?                2
                                                                   MR. VOSS: Thank you, Counsel. I'm on
 3
        A That would be all of the entities listed     3
                                                             4. We are done with 3 unless we reconcile.
 4
     in here where there is an investment.             4
                                                             BY MS. VOSS:
 5
        Q Actually, can I get you to look at 3         5
                                                                Q For now let's focus on 4, RL0020, fourth
 6
     again and then cover of this one and the cover    6
                                                             of the way down Paramount MGM fee 114,000.
 7
     of each?                                          7
                                                                   Do you see that?
 8
        A Okay.                                        8
                                                                A I do.
 9
        Q You see 3 was prepared at least on its       9
                                                                Q And that is a -- what is that?
10
     face August 20, 2022 and 4 was prepared at least 10
                                                                A Same -- same as the previous period. It
11
     on its face July 12th, 2022.                     11
                                                             would be for Heller Capital Group Services to
12
          Do you see that?                            12
                                                             the portfolio company.
13
        A I do.                                       13
                                                                Q Any idea why that is more than the
14
        Q Does that strike you as unusual you         14
                                                             management services fee in the last report that
15
     would have prepared these reports essentially    15
                                                             we just looked at?
16
     one month apart?                                 16
                                                                A Well, this is a year. So the one we are
17
        A Yes.                                        17
                                                             looking at right now is for an entire year
18
        Q Why?                                        18
                                                             period. The one we were looking at previously
19
        A I don't know. It is -- I'm trying to        19
                                                             was for seven months.
20
     think the date of the report dated August 22nd,  20
                                                                Q Fair.
21
     2022 would make sense based on the balance sheet 21           Okay. Let's go to RL0023. In fact,
22
     of July 31st, 2022 that would make perfect sense 22     let's skip that. I'm not interested in that.
23
     to me that is three weeks after closing the      23
                                                                   So let's go to RL0026. I'll hold mine
24
     books down. That would be the perfect time to    24
                                                             up again so you can find it. But I'm looking at
25
     create that report.                              25
                                                             the second from bottom kind of grouping there.
                                                 Page 93                                                      Page 95
 1
           This one would have been done in more of 1              Specifically, the bolded line that says
 2
     the February/March timeframe. Again, this was 2         total investment, Paramount Management Group,
 3
     not a standard practice to create a management   3
                                                             LLC and there is a sum there of $35,201,490.
 4
     report to report the financials.                 4
                                                                   Do you see that?
 5
           We would have printed just standard        5
                                                                A Yes.
 6
     balance sheet and P&L right out of QuickBooks. 6           Q What does that represent?
 7
     This is a CAN report that is in QuickBooks. It   7
                                                                A That would be the fair market value
 8
     is like a CAN report, management reports, it is  8
                                                             adjustment again.
 9
     like a special presentation, if you will. That   9
                                                                Q So as of this report, the company
10
     is what -- that wasn't the standard practice.   10
                                                             according to this report was worth 35 million?
11
        Q I see.                                     11
                                                                A Yes.
12
           Is it possible that you didn't create     12
                                                                Q And on the previous report Exhibit 3, it
13
     either Exhibit 3 or 4?                          13
                                                             was worth 73 million?
14
        A It is possible.                            14
                                                                A Yes.
15
        Q One more thing about the cover of each     15
                                                                Q And I'm talking about Line RL0011 in the
16
     and then we will get into the substance.        16
                                                             previous report.
17
           In the corner, it says for management     17
                                                                   Do you have any idea why the value of
18
     use only.                                       18
                                                             the company went up almost 40 million dollars?
19
           Do you see that on both of those?         19
                                                                A I don't.
20
        A Yes.                                       20
                                                                Q Do you recall talking to Mr. Heller
21
        Q Any idea what that indicates?              21
                                                             about that?
22
        A Standard stamp coming off of the           22
                                                                A No, because I didn't pay much attention
23
     QuickBooks software.                            23
                                                             to the fair market values because those
24
        Q I'll direct you to RL0020 and I'll help    24
                                                             adjustments weren't cash flow adjustments.
25
     you by holding mine up.                         25
                                                                Q Do you think either of those fair market
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                                                 Page 96                                                      Page 98
 1
     evaluations are accurate?                              1
                                                                  Q And I think that is on RL0028 --
 2
        A I couldn't speak to it.                           2
                                                                  A Thank you.
 3
        Q Let's jump to RL0028.                             3
                                                                  Q -- if that helps.
 4
          Did we staple these out of order?                 4
                                                                  A Yes. Okay. Good. So it is 34.4
 5
          And I'm interested in the line about the          5
                                                                million there.
 6
     third of the way from the bottom bolded total          6
                                                                  Q In -- you are looking at exhibit --
 7
     N/P portfolio companies personal. I'm                  7
                                                                  A RL0028.
 8
     interested in the line just above that. I              8
                                                                  Q Yes.
 9
     apologize.                                             9
                                                                  A It is 34 million.
10
          N/P Paramount/pledges the summary                10
                                                                  Q No. I believe it says 35 million.
11
     reflected there is 35 million -- we will say --       11
                                                                  A 34.5 million. Thank you. 35.4 million.
12
     .4 but do you see the sum there?                      12
                                                                  Q Okay.
13
        A Yep.                                             13
                                                                  A And if we go back to in July of 2022 and
14
        Q What does that represent?                        14
                                                                look at that same number that was on RL0013, it
15
        A That represents the distributions above          15
                                                                was 34.9. So it went up $550,000.
16
     the 83 percent.                                       16
                                                                  Q The it being what?
17
        Q So as of this report, that is money that         17
                                                                  A I'm sorry. The 34 -- I'm sorry --
18
     Paramount owed to -- excuse me.                       18
                                                                35.445 --
19
          As of this report, that sum was the              19
                                                                     MR. BOYLE: Describe what it is.
20
     amount that Heller Capital owed to Paramount?         20
                                                                     THE WITNESS: It is the -- it is the
21
        A Correct. Yep.                                    21
                                                                note payable Paramount/pledges on RL0028.
22
        Q Okay. I will direct your attention to            22
                                                                BY MR. VOSS:
23
     RL0031.                                               23
                                                                  Q Yep.
24
        A 31? Okay.                                        24
                                                                  A It was 35.4 and in the previous report,
25
        Q And the text gets small and I'll hold            25
                                                                which is on RL0013, the note payable
                                                 Page 97                                                      Page 99
 1
     mine up so you can see where I'm indicating, a         1
                                                                Paramount/pledges is 34.9.
 2
     line about a third of the way down, it says N/P        2
                                                                   Q So from Report 4 to Report 3, the note
 3
     portfolio companies/personal N/P                       3
                                                                went down and how does the sum on Page RL31
 4
     Paramount/pledges.                                     4
                                                                relate to that?
 5
        A Yes.                                              5
                                                                   A So in -- if we look at -- you are right.
 6
        Q End the summary reflected there -- if             6
                                                                It went down. So that 500,000 question that you
 7
     I've carried my pen across correctly -- is 1.2         7
                                                                asked me, that was on RL0015. You said what
 8
     million dollars in change?                             8
                                                                does that 500,000 represent. It was a note
 9
        A I see that.                                       9
                                                                payable portfolio Paramount/pledges.
10
        Q What does that represent?                        10
                                                                   Q Yes, sir.
11
        A That represents the change when this             11
                                                                   A That is the 500,000. That note went
12
     reporting period -- so the note would have went       12
                                                                down. That 500,000. That 500,000 represents a
13
     up -- let me make sure I'm getting this right.        13
                                                                payment that was made back from Heller Capital
14
     I want to make sure. Here it is.                      14
                                                                to Paramount.
15
           Okay. So let's go back. I'm going to            15
                                                                   Q Okay. So we got that one tied up.
16
     answer your question. Let's walk through this.        16
                                                                      How about RL31, what does the 1.2
17
     Bear with me.                                         17
                                                                million there represent?
18
           So you see -- you asked me the question         18
                                                                   A So that is positive. So that is going
19
     previously on RL0015 what that 500,000                19
                                                                to represent 1.2 million that came in. If we
20
     represented?                                          20
                                                                would get the beginning balance sheet and get
21
        Q Yes, sir.                                        21
                                                                December 31st, 2020, you would see the note
22
        A And I told you that was the change               22
                                                                balance go up.
23
     between 12/31/21 and July 31st of 2022. So            23
                                                                   Q It would go up?
24
     let's go -- I want to look at the note as it          24
                                                                   A It would go up by RL0031 the 1 million
25
     existed 12/31/21. You asked me that question.         25
                                                                260.
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 1
        Q But whatever this number represents, an           1
                                                                take a break right here? I'm going to need the
 2
     increase or a decrease, in this case it is an          2
                                                                computer next for the spreadsheets that print
 3
     increase, it is rolled into RL28?                      3
                                                                out rather small. Can we go off the record?
 4
        A You got it.                                       4
                                                                      MR. BOYLE: Sure.
 5
        Q Perfect.                                          5
                                                                      (Break.)
 6
           Last question on this document RL32,             6
                                                                      MR. VOSS: Let's mark this one Exhibit
 7
     once again hold mine up so you can see it.             7
                                                                5.
 8
     There is two Paramount-related entities on Line        8
                                                                      (Rynearson Exhibit No. 5 was marked for
 9
     3 and 4.                                               9
                                                                identification.)
10
           I'm going to skip to the end FMB ADJ and        10
                                                                BY MR. VOSS:
11
     the end of the next one is tax balance. Let's         11
                                                                   Q I'm handing the witness what I will
12
     start with FMB adjustment, it looks like minus        12
                                                                admit is a very small printed spreadsheet that
13
     32 million -- minus 32.3 million and change.          13
                                                                we displayed on screen.
14
           Do you see that?                                14
                                                                      I represent to the witness that I
15
        A I do.                                            15
                                                                received under a subpoena from -- to Dana
16
        Q What does that represent?                        16
                                                                Schlicker a spreadsheet in its native format which
17
        A That is going to represent the change in         17
                                                                we have displayed on screen that you are holding
18
     the fair market value that was on page --             18
                                                                on your hand titled HC NP to PMG Detail 1.
19
        Q 26?                                              19
                                                                      Sir, the spreadsheet in your hand is a
20
        A Correct.                                         20
                                                                printout of what is on screen. Is that a
21
        Q So --                                            21
                                                                spreadsheet you have seen before?
22
        A And that is the change, Josh, between            22
                                                                   A I can't speak to the exact spreadsheet,
23
     12/31/2020 and 12/31/21.                              23
                                                                but I understand what it is representing.
24
        Q So in this reporting period, the fair            24
                                                                   Q What does this spreadsheet represent to
25
     market value of Paramount went down by 32             25
                                                                you?
                                                Page 101                                                     Page 103
 1
     million dollars?                               1
                                                                   A It represents the balance that you were
 2
        A Let me see. Just let me get my            2
                                                                asking me about previously on the balance sheets
 3
     bearings. I don't know if it went up or went   3
                                                                of the Exhibit 3 and Exhibit 4.
 4
     down.                                          4
                                                                   Q So this would be a balance that Heller
 5
          I'm sorry. I just got to -- yes, I        5
                                                                Capital owes to Paramount?
 6
     believe it went up. That is what it means. It  6
                                                                   A Correct.
 7
     went up.                                       7
                                                                   Q And again, it is small on your document;
 8
        Q The value of the company went up or went 8            but I see there is a subtotal at Line 101 and I
 9
     down by that sum?                              9
                                                                will get that on screen. Of course, the headers
10
        A I believe it went up.                    10
                                                                aren't carrying through.
11
        Q Okay. Next line down tax balance 2.9     11
                                                                   A That is all right.
12
     million, what does that represent?            12
                                                                   Q This is as fancy as I can do in a
13
        A It would be tied back to that same       13
                                                                deposition.
14
     section in the balance sheet.                 14
                                                                      So there in Column J on the screen Line
15
        Q Which means?                             15
                                                                101, same in the printed document that we are
16
        A It would be tied back to there is a tax  16
                                                                using as our exhibit, do you see a sum there as
17
     adjustment.                                   17
                                                                7.4 million dollars and change?
18
        Q So that is money that Heller Capital     18
                                                                   A I do.
19
     received from Paramount?                      19
                                                                   Q And its description, I believe, is total
20
        A I don't recall what that tax adjustment  20
                                                                for N/P Paramount/pledges.
21
     represents.                                   21
                                                                      Do you see that?
22
        Q Is it maybe more generally, the money    22
                                                                   A I do.
23
     into Heller Capital or out of Heller Capital? 23
                                                                   Q What does that sum represent to you?
24
        A I don't recall what that represents.     24
                                                                   A This should be analogous to RL0013 in
25
          MR. VOSS: Can we -- is it okay if we     25
                                                                Exhibit 3 or it was a 34.9 million. So that --
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 1
     so the 34.9 million, the detail behind it would        1
                                                                should flow. So you see in Column K. That is
 2
     be in the spreadsheet. This is dated July 31st,        2
                                                                the cumulative balance.
 3
     2022. Let's see if we go to July 31st, 2022.           3
                                                                   Q Um-hum.
 4
        Q Sure. Right tracking my outline.                  4
                                                                   A And you will see the transactional dates
 5
           Which line are you looking for?                  5
                                                                are coming through in Column J. So every time
 6
        A Column B. Let's see if we can find July           6
                                                                you have a transactional date in Column J it is
 7
     31st of 2022.                                          7
                                                                taking the cumulative balance in Column K.
 8
        Q I think the closest we got is an                  8
                                                                   Q Um-hum.
 9
     entry -- we are looking at Lines 39 and 40 for         9
                                                                   A So, for example, K-87 is 9 million 123,
10
     purposes of the written record in Exhibit 5 the       10
                                                                40,000 goes out and 9 million 123 goes down
11
     spreadsheet?                                          11
                                                                40,000 to be 9 million 83.
12
        A So now, let's look at Exhibit 4 and              12
                                                                   Q It makes sense. Yes, sir.
13
     let's go to --                                        13
                                                                   A Now, go down to where you pointed out
14
        Q Sir, are you looking at -- which                 14
                                                                Row 102, you have this transactional description
15
     report --                                             15
                                                                but nothing there and the balance goes from 7
16
        A I'm sorry. Exhibit 4, the period ending          16
                                                                million .4 to 7,027,000.
17
     December 31st, 2021. I shifted gears because we       17
                                                                   Q Let's maybe jump to row -- these are all
18
     couldn't find that balance sheet date.                18
                                                                in the printed documents. I think these are
19
        Q Yes, sir. I'm with you.                          19
                                                                easier to look on the screen here?
20
        A Hold on a second. So then look at                20
                                                                     So it reaches a total in Column J, Row
21
     RL0028.                                               21
                                                                127 of 2.7 million and I think would you agree
22
        Q Okay.                                            22
                                                                with me that that 2.7 in Line 127 appears to be
23
        A And you will see 35,445,085.                     23
                                                                added to the sum total in Line 101? I can
24
        Q And that matches exactly lines -- well,          24
                                                                scroll back up on screen.
25
     39 and 40 but 39 is the last entity for that --       25
                                                                   A Hold on. You might have just nailed it.
                                                Page 105                                                     Page 107
 1
     the reporting period reflected in the management 1         Yeah. That is -- yeah. Go back up there.
 2
     report?                                           2
                                                                   Q I'm returning to Row 101, Line J.
 3
        A Correct.                                     3
                                                                   A Yeah. Now, go back to where you were.
 4
        Q So this spreadsheet again returning to       4
                                                                Yes. They are added together. So the 2.7 is
 5
     Exhibit 5 represents -- what does it represent    5
                                                                added to that 7.4. That is up above.
 6
     to you?                                           6
                                                                   Q Yes.
 7
        A It represents the detail behind the          7
                                                                      Based on your experience with Heller
 8
     balance that we are looking at. So this is a      8
                                                                Capital, Heller Capital's account, accounting
 9
     balance at a point in time in Exhibit 3 and 4.    9
                                                                practices, do you believe Row 129 the total
10
     This would be the detail that would support the 10         there is a sum owed from Heller Capital to
11
     balance.                                         11
                                                                Paramount?
12
        Q Okay. And then I want to go back to --      12
                                                                   A Yes.
13
     we are going to go to Line 102. There is a       13
                                                                   Q I'm done with that one. We will mark
14
     descriptor there loan payable Box 1 TVT          14
                                                                this one as 6. I'm handing you, the witness,
15
     LendSpark.                                       15
                                                                Exhibit 6.
16
          What are those things? What is this box     16
                                                                      This one is insanely small printed out.
17
     describing, this description here in 102 Column 17         That is why we have the screen. I will
18
     A?                                               18
                                                                represent to you this is a spreadsheet provided
19
        A I don't know.                               19
                                                                to me under subpoena to Dana Schlicker in native
20
        Q Do you know what TVT is?                    20
                                                                format and Excel native format. Title of which
21
        A I do not.                                   21
                                                                was PMG Investment Asset on HCBS.
22
        Q How about LendSpark?                        22
                                                                      And for the benefit of the record, we
23
        A I don't -- this one looks odd to me.        23
                                                                have the same document displayed on screen that
24
        Q Okay. Why does it look odd?                 24
                                                                we have printed in 6. It is quite small to
25
        A Because this should flow. The balances      25
                                                                read, so we displayed it for the witness.
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 1
            Mr. Rynearson, do you recognize this     1          the balance sheet account investment in
 2
     spreadsheet?                                    2          Paramount Management Group. So that when the
 3
        A I do not, but it looks like account        3          cash came in, you can see it is a deposit in
 4
     detail again. It is a -- it is a transactional  4          Column C, you can see they are deposits.
 5
     report that supports an account.                5                So they -- the account would have
 6
            (Rynearson Exhibit No. 6 was marked for 6           debited cash and they would credit that
 7
     identification.)                                7          investment because it is the funds are related
 8
     BY MR. VOSS:                                    8          to the ownership of Paramount Management Group.
 9
        Q Maybe I will make this one smaller so      9             Q So these are sort of, I guess, I'm
10
     you can see all of it. Hopefully, that doesn't 10          really still struggling, these are
11
     make it worse.                                 11          distributions --
12
        A That makes it helpful.                    12             A Correct.
13
        Q What generally does this look like to     13             Q -- that Heller Capital is taking out of
14
     you?                                           14          Paramount --
15
        A It is the support for -- it is the        15             A That is correct.
16
     support for investment. So in Row 7, it says 16               Q -- in the ownership stake?
17
     investment Paramount Management Group.         17             A A hundred percent. Correct.
18
            So it is the support for that balance.  18             Q I see.
19
     It is the transactional detail to support the  19                Okay. So not loans?
20
     balance.                                       20             A Not loans.
21
        Q What I'm trying to figure out, sir, does 21              Q You don't happen to know anything about
22
     this reflect monies flowing from Paramount to 22           the Cash Depot first iso transaction reflected
23
     Heller Capital or from Heller Capital to       23          on 30 and 31, do you?
24
     Paramount?                                     24             A No. Yeah, no.
25
        A This looks like -- these are incoming     25             Q Okay. I think we are done with the
                                                Page 109                                                     Page 111
 1   wires so they are coming into Heller Capital.          1
                                                                screen.
 2      Q And again, does this to you look like it          2
                                                                      I'm going to hand you the next exhibit,
 3   is money for the benefit of Paramount or -- I          3
                                                                which is 7. This is a document we received in
 4   guess I'm trying to understand, what is                4
                                                                discovery in its native format, which is not
 5   investments in portfolio companies.                    5
                                                                reflected here but the title of this document is
 6        I'm looking at Column H in the first              6
                                                                Raw Glorious transactions.
 7   segment of this document. I'm trying to                7
                                                                      Sir, looking at this spreadsheet, does
 8   understand what I'm seeing here in real layman's       8
                                                                this -- what does this look like to you?
 9   terms.                                                 9
                                                                   A This looks like this would have been
10      A Understood. So this would be -- this             10
                                                                produced out of Paramount's book and the reason
11   would be -- these would be payments made that         11
                                                                why I say that is because it is a note
12   are distributions.                                    12
                                                                receivable. So Paramount would have had a note
13        So this -- these are -- these are monies         13
                                                                receivable from Raw Ventures.
14   made -- or funds made related to Heller Capital       14
                                                                      (Rynearson Exhibit No. 7 was marked for
15   Group 80 percent management in Paramount              15
                                                                identification.)
16   Management Group and that is why they are being       16
                                                                BY MR. VOSS:
17   applied against the investment.                       17
                                                                   Q I believe earlier today we had talked
18        So it would be debit cash because we             18
                                                                about a sum of approximately 21 million Glorious
19   received the cash and you are crediting the           19
                                                                owed to Raw.
20   investment to bring the investment down.              20
                                                                      Am I recalling that correctly?
21      Q What does that mean, the investment?             21
                                                                   A You are.
22      A The investment in -- the investment, go          22
                                                                   Q And we see in Line 56, Column F a sum of
23   back to the left so you can see columns -- right      23
                                                                just over 20 million dollars.
24   there, investment in Paramount Management Group.      24
                                                                      Do you see that?
25        So that is the -- that is the -- that is         25
                                                                   A I do.
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 1      Q Do those two sums reconcile in some kind          1      A Say that again.
 2   of way?                                                2      Q Which entity specifically, if you know,
 3      A I would -- the accountant teams would             3   did these David Prill and Danny Frank you work
 4   reconcile this on a quarterly basis and I know         4   out of.
 5   that because I directed them to do so. So they         5         You said Glorious, but that is a
 6   should reconcile the 21 million, and maybe I'm         6   constellation. Do you know specifically what
 7   off, Josh, because I'm pulling it from memory.         7   they worked for?
 8   Maybe it is 20 million -- you know, maybe it is        8      A The 24 entities that you tallied up in
 9   just over 20 million.                                  9   your head previously, there was -- there is a
10      Q This document, does this represent sums          10   service entity that is not mentioned in there
11   that Raw owed Paramount in your estimate?             11   and that service entity is where everybody gets
12      A Sums that Raw owed Paramount, yes. Raw           12   their paycheck from. So all 24 companies all
13   would have had a note payable on its books for        13   got a paycheck out of the service entity.
14   the exact same amount when the balances were          14      Q What is that entity called?
15   reconciled.                                           15      A It used to be i Employee Services but it
16      Q And the last transaction on here on Line         16   changed but I don't recall what it was changed
17   2 is from February of 2024.                           17   to.
18         Do you see that?                                18      Q The name changed or the company changed?
19      A Oh, yeah.                                        19      A The company. It was -- it was a new
20      Q Row 2, Column A?                                 20   company.
21      A Yes.                                             21      Q New company?
22      Q Do you have any reason to believe that           22      A Yeah.
23   there was transactions between Paramount and Raw      23      Q And you don't know what that company is?
24   after that time?                                      24      A I do not remember the name of the
25      A No. To the best of my knowledge, there           25   company.
                                                Page 113                                                     Page 115
 1
     were no transactions after that time.                  1
                                                                   Q Is that in your records?
 2
        Q Do you think this summary reflected in            2
                                                                   A That, I'm not sure of.
 3
     Row 56, Column F is what Raw today owes to             3
                                                                      MR. VOSS: Okay. Counsel, I will call
 4
     Paramount?                                             4
                                                                production of documents sufficient to identify
 5
        A I believe it could be that amount. The            5
                                                                the name of the company.
 6
     21 million that I mentioned before should be           6
                                                                      MR. BOYLE: Okay.
 7
     analogous to that 20 million that is sitting           7
                                                                      THE WITNESS: And just for clarity, it
 8
     down there.                                            8
                                                                is a passthrough entity. That is where the
 9
        Q Do you know somebody -- anybody who               9
                                                                C-suite sets where all of the employees were
10
     would know with certainty what Raw owes to            10
                                                                paid out of and all of the operational cash flow
11
     Paramount?                                            11
                                                                would come into that entity to make those
12
        A So from Raw's perspectives, the books            12
                                                                payments. So it is a nonoperating entity.
13
     were kept by Glorious -- by the Glorious              13
                                                                BY MR. VOSS:
14
     accounting team.                                      14
                                                                   Q Here is what I'm looking for.
15
        Q Do you know a person or persons on that          15
                                                                   A Okay.
16
     team?                                                 16
                                                                   Q I want to make sure I have close to what
17
        A Yeah. David Prill would be the CFO.              17
                                                                Raw owes Paramount.
18
        Q Anybody else?                                    18
                                                                   A Got you.
19
        A Danny Frank would have been the                  19
                                                                   Q I'm trying to figure out who I direct
20
     controller.                                           20
                                                                the subpoena to, and it sounds like these folks,
21
        Q And when you say they were -- any                21
                                                                David Prill and Danny Frank would have it in
22
     others?                                               22
                                                                your view, right?
23
        A Maybe staff members but I don't know.            23
                                                                   A Yes.
24
        Q Glorious, do you know what entities              24
                                                                   Q Anybody else that might have it?
25
     specifically the accountants worked out of?           25
                                                                   A They would have it.
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 1
        Q And you believe they work for an entity           1
                                                                      MR. BOYLE: I got new glasses and I
 2
     that you can't identify as you sit here right          2
                                                                can't see it.
 3
     now?                                                   3
                                                                      MR. VOSS: I knew the last ones are
 4
        A So with all Daryl's, you know, legal              4
                                                                small and this one I added after I directed
 5
     issues, they stopped doing the accounting work         5
                                                                staff what --
 6
     for Daryl's entities.                                  6
                                                                      THE WITNESS: What is the description,
 7
           So I believe that ended the end of last          7
                                                                Josh? Is it the thing highlighted in red?
 8
     year '24. I believe they would be able to              8
                                                                BY MR. VOSS:
 9
     furnish you the balance as it existed in '24 but       9
                                                                   Q No. It is Line -- what did I just
10
     I don't believe there were any transactions that      10
                                                                say -- Line 37?
11
     occurred after.                                       11
                                                                   A So what is the description of Line 37.
12
        Q Okay. Let me see if I want to do this            12
                                                                   Q It says notes receivable-Raw, all caps
13
     one.                                                  13
                                                                parentheses, Glorious, end parentheses; and when
14
           MR. BOYLE: You had directed several             14
                                                                you carry it over, it is the same sum as what we
15
     requests of us and we are happy to comply with        15
                                                                just looked at on the spreadsheet you can
16
     those.                                                16
                                                                actually read.
17
           We could ask that you follow up with a          17
                                                                   A Okay.
18
     letter afterwards so we know specifically what        18
                                                                   Q I'll direct your attention to Page 1.
19
     we are looking for.                                   19
                                                                   A Yeah.
20
           MR. VOSS: Will do. Calls for                    20
                                                                   Q This document purports to be as we
21
     production, so I can find them quickly when I         21
                                                                understand it a balance sheet for Paramount as
22
     get my transcript.                                    22
                                                                of July 31, 2024.
23
           A smarter man would have sent this to           23
                                                                      What I was simply hoping to show with
24
     the staff to make it big, but I did not. This         24
                                                                that document is that balance we see on Exhibit
25
     is the last exhibit.                                  25
                                                                7 carried forward through at least July at the
                                                Page 117                                                     Page 119
 1
          I'm handing the witness Exhibit 8, which          1   same amount.
 2
    I will represent to you is a document we                2      A And I'm assuming, Josh, that this sheet
 3
    received in discovery in its native format              3   that we can't see the numbers totals up to the
 4
    called 2024 PMG financial statements.                   4   94,000 that is on Page 1 of Exhibit 8 -- not
 5
   BY MR. VOSS:                                             5   94,000 -- 94 million.
 6
       Q And if I had been really doing my job, I           6      Q I don't know if this has a sum total;
 7
    would have numbered the pages. So I didn't. On          7   and again, this is not a document we created.
 8
    the seventh page in very small font -- I                8   So we are at the mercy of the custodian.
 9
    apologize, Row 37?                                      9      A I can help you out here. I never seen
10
       A What does your seventh page look like?            10   these documents. I don't know what they are or
11
       Q Second to the last. I should have                 11   who prepared them.
12
    numbered them. I apologize. Row 37, very small         12      Q We will decide if we need to get this on
13
    it says notes receivable Raw Glorious, will            13   screen. I just have one more question.
14
    carry out that says 2000466867.                        14      A Okay.
15
          Do you see that very tiny entity there?          15      Q Do you know -- it is on here. It
16
       A I honestly can't see it.                          16   doesn't matter if you read it. If you see an
17
          (Rynearson Exhibit No. 8 was marked for          17   entry HCG Orrstown Bank Pledge Account, any idea
18
    identification.)                                       18   what that would be?
19
    BY MR. VOSS:                                           19      A No.
20
       Q I'll represent to you that that is what           20      Q HCG Orrstown Bank Pledge Account No. 2,
21
    it says and the document will speak for itself.        21   any idea?
22
       A Fair enough.                                      22      A No.
23
       Q Can we agree that it matches the exhibit          23      Q Same description, No. 3, any idea?
24
    in 7 the same sum?                                     24      A No.
25
       A Okay. Good.                                       25      Q How about HCG Portfolio M Pledge
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                                                Page 120                                                     Page 122
 1
     Account?                                      1
                                                                   Q Any physical assets that you are aware
 2
        A No.                                      2
                                                                of? Real property I mean.
 3
        Q HCG Portfolio N Pledge Account, that is 3                A No.
 4
     N as in Nancy, the last time I said M as in   4
                                                                   Q Okay. Are you familiar with the beach
 5
     Mary. This time I said N as in Nancy.         5
                                                                house in New Jersey?
 6
          Any idea what that is?                   6
                                                                   A Yes.
 7
        A No.                                      7
                                                                   Q Do you know how that was funded?
 8
        Q Okay. We don't need to make this         8
                                                                   A Paramount. It was -- it was a debt
 9
     document bigger. We are fine.                 9
                                                                transaction and Paramount.
10
          All right. I think we can really quick  10
                                                                   Q What does that mean, debt transaction?
11
     go through these.                            11
                                                                   A A bank loan.
12
          Let's see if you even know the answers  12
                                                                   Q What do you mean by that?
13
     to these.                                    13
                                                                   A Dennis and Randall took out a loan to
14
          Do you know what banks Paramount used? 14             purchase the beach house for the difference
15
        A No.                                     15
                                                                between the purchase price and the amount that
16
        Q Do you know if it had any brokerage     16
                                                                they -- so they funded cash from Paramount, is
17
     accounts?                                    17
                                                                what I recall, to purchase the beach house and
18
        A I do not.                               18
                                                                then the difference was a bank loan.
19
        Q Safe deposit boxes?                     19
                                                                   Q Did Paramount pay for that beach house?
20
        A No.                                     20
                                                                   A I believe -- I believe -- I believe it
21
        Q Actual safes?                           21
                                                                was -- I believe the money came into Daryl's. I
22
        A No.                                     22
                                                                believe the way it works it was funded out of
23
        Q Do you know any cars it owned?          23
                                                                Paramount into Heller Capital, Heller Capital to
24
        A No.                                     24
                                                                Daryl, and then Daryl paid for it out of his own
25
        Q Computers?                              25
                                                                account. I believe it was an individual
                                                Page 121                                                     Page 123
 1
        A I mean, they had computers.                       1
                                                                purchase.
 2
        Q But do you know specifically where they           2
                                                                   Q Through all of that, did Daryl and
 3
     are?                                                   3
                                                                Randall pay for the house ultimately or did
 4
        A No.                                               4
                                                                Paramount?
 5
        Q I think we went through the Raw                   5
                                                                   A The funds would have originated out of
 6
     receivable and the Heller Capital intercoming          6
                                                                Paramount, from what I recall.
 7
     balance.                                               7
                                                                   Q Fair enough.
 8
           Any other large receivables at Paramount         8
                                                                     But when it all nets out, was Paramount
 9
     that you are aware of?                                 9
                                                                paying for it or did they somehow pay for it
10
        A No.                                              10
                                                                individually?
11
        Q Okay. Any loans it was owed?                     11
                                                                   A I'm trying to answer your question. The
12
        A No.                                              12
                                                                funds would have originated out of Paramount
13
        Q Other than the ones we have discussed?           13
                                                                into Daryl's personal account and Daryl would
14
        A Right.                                           14
                                                                have paid for the beach house out of his
15
        Q Any debts owed to it other the ones we           15
                                                                personal account.
16
     discussed?                                            16
                                                                   Q What was the basis for the payment from
17
        A No.                                              17
                                                                Paramount to Daryl?
18
        Q Any idea who it had insurance through            18
                                                                   A Distribution.
19
     for general liability insurance?                      19
                                                                   Q Is it a distribution he was entitled to?
20
        A This is Paramount?                               20
                                                                   A I don't know.
21
        Q Yes.                                             21
                                                                   Q What I'm trying to get to -- I asked it
22
        A No.                                              22
                                                                a couple of different ways -- my basic point is,
23
        Q All of these questions are about                 23
                                                                did Paramount pay for that house or did Randall
24
     Paramount.                                            24
                                                                and Daryl pay for that house?
25
        A Okay.                                            25
                                                                   A The funds would have originated -- I'm
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 1
     not trying to be evasive. I'm trying to answer          1
                                                                 BY MR. BOYLE:
 2
     your question.                                          2
                                                                    Q Are you familiar with TR-31?
 3
           The funds would have originated out of            3
                                                                    A No.
 4
     Paramount, whatever it was. Two million dollars         4
                                                                    Q You earlier talked about Daryl told you
 5
     originated out of Paramount.                            5
                                                                 at some point in 2024 about a deal to sell
 6
           Those funds would have went into Daryl's          6
                                                                 Paramount; is that right?
 7
     bank account as an individual and then Daryl            7
                                                                    A Correct.
 8
     would have funded the purchase price out of his         8
                                                                    Q And you have no idea who the deal
 9
     account.                                                9
                                                                 partner was?
10
        Q And you have personal knowledge of the            10
                                                                    A I don't.
11
     money coming out of Paramount to purchase this         11
                                                                    Q Do you know why that deal did not come
12
     beach house?                                           12
                                                                 together?
13
        A That is what I recall.                            13
                                                                    A I do not.
14
        Q Okay. Would in your view the proceeds             14
                                                                    Q Do you think there was actually a deal
15
     of that house belong to Paramount?                     15
                                                                 partner?
16
           MR. BOYLE: I'm going to object again.            16
                                                                    A I don't know.
17
     Are you asking for a legal conclusion or just --       17
                                                                    Q Did Mr. Heller ever talk to you about an
18
           MR. VOSS: I'm asking for his accounting          18
                                                                 exit plan for his companies?
19
     opinion on the transaction.                            19
                                                                    A Yes.
20
           THE WITNESS: So from an accounting               20
                                                                    Q When was that discussion?
21
     perspective, if the distributions were                 21
                                                                    A It was -- it was a discussion that
22
     appropriate, then no, because the money would          22
                                                                 Daryl -- that was always a strategic goal with
23
     have been funded out and would have been a             23
                                                                 everything Daryl was doing, to always have an
24
     distribution and those funds would have been           24
                                                                 exit out.
25
     Daryl's personally.                                    25
                                                                    Q And what did he say to you?
                                                 Page 125                                                     Page 127
 1
     BY MR. VOSS:                                            1
                                                                    A Start the companies, get them cash
 2
        Q And you would have expected if their               2
                                                                 flowing, and at some point have an exit.
 3
     distribution -- there would have been a                 3
                                                                    Q That was the end game to get out of
 4
     reduction of the distribution for the year?             4
                                                                 these companies?
 5
        A It would have been included as a                   5
                                                                    A Yes.
 6
     distribution, right. So Paramount would have            6
                                                                    Q Are you familiar with flights of --
 7
     recorded a distribution and Heller Capital would        7
                                                                 flights on a private jet with bags of cash?
 8
     have had the incoming and then Heller Capital           8
                                                                    A No.
 9
     would have sent it to Daryl.                            9
                                                                    Q Did Paramount pay any money to Daryl
10
        Q I see.                                            10
                                                                 Heller outside of distributions?
11
           Returning to Paramount, are you aware of         11
                                                                    A Not to my knowledge.
12
     any physical cash that they have?                      12
                                                                    Q When was the last time you talked to
13
        A No.                                               13
                                                                 Mr. Heller?
14
        Q I'm talking about U.S. currency.                  14
                                                                    A It would have been before Thanksgiving
15
        A No.                                               15
                                                                 of 2024.
16
        Q Fine art of any kind?                             16
                                                                    Q What was that discussion about?
17
        A No.                                               17
                                                                    A It would have been something related to
18
        Q Equipment of value of over 10,000?                18
                                                                 Glorious.
19
        A No.                                               19
                                                                    Q What do you recall the substance of that
20
           MR. BOYLE: Are you saying no or you              20
                                                                 conversation being?
21
     don't know?                                            21
                                                                    A In my role as a consultant with
22
           THE WITNESS: No. I don't know. I'm               22
                                                                 Glorious, it was contentious with what was going
23
     not aware and no are synonymous. I'm not aware.        23
                                                                 on with Daryl.
24
           MR. VOSS: Thank you, Counsel.                    24
                                                                      So I would be the one that was elected
25
           THE WITNESS: Yeah. Thank you.                    25
                                                                 to reach out to Daryl and communicate with
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 1
     Daryl.                                           1
                                                                      THE WITNESS: Where what is?
 2
           So it would have been something related    2
                                                                      MR. BOYLE: Where is the money?
 3
     to Glorious that would have been the impetus of 3                THE WITNESS: Oh, I don't know.
 4
     the conversation.                                4
                                                                BY MR. VOSS:
 5
        Q Did you at any point discuss with him       5
                                                                   Q Are you familiar with a group of
 6
     losses by Paramount?                             6
                                                                entities called Blackford Funds?
 7
        A No.                                         7
                                                                   A Yes.
 8
        Q Did you ever discuss with him losses by     8
                                                                   Q What is your understanding of that
 9
     Heller Capital?                                  9
                                                                entities?
10
        A No.                                        10
                                                                   A So the Blackford Funds, they were ATM
11
        Q Did you ever discuss with him beyond the 11           Funds that were originally Daryl Heller and
12
     conversation we already went through whether 12            Richard Welkowitz.
13
     this is a fraud or a Ponzi?                     13
                                                                      And then Richard passed in December of
14
        A No.                                        14
                                                                2018 and Daryl ended up purchasing the --
15
        Q Are you familiar generally with the        15
                                                                Richard's ownership percentage of those funds.
16
     Prestige Investment Group?                      16
                                                                      So that is -- that is my knowledge of
17
        A Yes.                                       17
                                                                those -- of those funds. So they were 100
18
        Q What was your understanding of the         18
                                                                percent owned by Heller Capital. They were 100
19
     relationship between Prestige Investment Group 19          percent owned by Heller Capital at that time.
20
     and Paramount?                                  20
                                                                   Q Do you know how many ATMs were inside
21
        A My understanding was that Prestige would 21           the Blackford Funds?
22
     purchase the assets, the ATMs, and Paramount 22               A I don't.
23
     would manage them.                              23
                                                                   Q Any idea where they are?
24
        Q And was it your understanding that         24
                                                                   A I don't.
25
     Prestige was purchasing them through various    25
                                                                   Q Any reason to believe those ATMs are in
                                                Page 129                                                     Page 131
 1
     funds?                                                 1
                                                                any way separate from the ATMs that Paramount
 2
        A Yes.                                              2
                                                                managed?
 3
        Q Okay. Do you know where the money went            3
                                                                   A Paramount -- my understanding was that
 4
     to first when money came into -- well, scratch         4
                                                                Paramount did manage those ATMs.
 5
     that.                                                  5
                                                                   Q Do you have any idea the scale of the
 6
           Did you ever see bills of sale for ATM           6
                                                                ATMs in the Blackford Funds?
 7
     sales?                                                 7
                                                                   A I don't.
 8
        A I don't believe so.                               8
                                                                   Q Did you ever at some point in time see
 9
        Q Okay. Do you know how much money the              9
                                                                or hear about placeholder or PH serial numbers?
10
     funds invested in Paramount?                          10
                                                                Did you have a discussion with anybody about
11
        A I don't.                                         11
                                                                that?
12
        Q Would it shock you that it is over 700           12
                                                                   A I did not.
13
     million dollars?                                      13
                                                                   Q Okay. Are you familiar with Cash
14
        A Significantly shock me.                          14
                                                                Ventures?
15
        Q Why is that shocking to you?                     15
                                                                   A No.
16
        A I just had no idea it was that much              16
                                                                   Q Because I'm probably definitely going to
17
     money.                                                17
                                                                forget.
18
        Q Do you have any idea where the unpaid            18
                                                                   A I think I misspoke. What was the
19
     investments are today?                                19
                                                                question Cash --
20
        A No.                                              20
                                                                   Q Are you familiar with Cash Ventures?
21
        Q Do you have any guesses?                         21
                                                                   A I have heard of Cash Ventures.
22
        A Getting judgment for 138 million. 138            22
                                                                   Q What is your understanding of Cash
23
     million?                                              23
                                                                Ventures?
24
           MR. BOYLE: No. He is asking where they          24
                                                                   A Very similar to Blackford, the Blackford
25
     are.                                                  25
                                                                Funds. So those were owned by Daryl Heller and
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                                                 Page 132                                                     Page 134
 1
     Rick Haller.                                      1
                                                                 September of 2019.
 2
         Q Where did they come from?                   2
                                                                       Do you see that --
 3
         A Same setup. They were purchasing the        3
                                                                    A I do.
 4
     ATMs and Paramount was managing them.             4
                                                                    Q -- 3.3?
 5
         Q Any idea of the scale of ATMs?              5
                                                                       And then we have a segment called cost
 6
         A I don't.                                    6
                                                                 of goods sold and expenses. And if you continue
 7
         Q This was marked in a previous deposition    7
                                                                 onto Page 2, we get adjusted net operating
 8
     and I think we will -- I think we will refer to   8
                                                                 income right there --
 9
     it as its prior designation. This is called       9
                                                                    A Yep. I see that.
10
     Leaman Deposition Exhibit No. 7.                 10
                                                                    Q -- 99,987.
11
            What I will represent to you is this      11
                                                                       Would you agree with me that that 99,987
12
     is -- if you read the pages, 1 goes with 2, 2    12
                                                                 is a representation of the net revenue off of
13
     goes with 3 and 3 goes with 4. See, I managed    13
                                                                 ATM's performance in this month?
14
     to stick with upside down.                       14
                                                                    A This is -- let me see. So that looks to
15
            What I will represent to you, sir, this   15
                                                                 me -- again, I'm not familiar with this
16
     is -- we received a number of P&Ls in discovery 16          presentation if you are asking for my opinion of
17
     in this case and merged them into a consolidated 17         what it represents.
18
     document, which is this document marked Leaman 18              Q Yes, sir.
19
     Exhibit 7.                                       19
                                                                    A It looks like that net operating income,
20
            So earlier today, we had talked about at  20
                                                                 the adjusted nonoperating income looks like it
21
     some point in time Daryl put a P&L in front of   21
                                                                 relates to the ATM business, the fees and so
22
     you. Obviously, it wasn't this P&L. I created    22
                                                                 forth collected from the ATMs.
23
     it.                                              23
                                                                       And then down below -- so there is your
24
            But did the P&L he put in front of you    24
                                                                 net operating income. That is what Daryl would
25
     look similar to this?                            25
                                                                 have showed me, the net operating income from
                                                 Page 133                                                     Page 135
 1
        A I don't recall.                                    1
                                                                 the business. That is what he would have showed
 2
        Q Okay. Well, when he talked -- as I                 2
                                                                 me was sufficient to make the payment to the
 3
     recall, you said he talked to you about the             3
                                                                 Prestige investors.
 4
     operating revenue of Paramount was sufficient to        4
                                                                    Q Are you talking about the adjusted or
 5
     cover their payments to the funds.                      5
                                                                 the net operating income that is just --
 6
           Did I -- did I describe your testimony            6
                                                                    A I don't recall there being an adjusted
 7
     correctly? Is that what he said?                        7
                                                                 number, but it was net operating income.
 8
        A Operating income --                                8
                                                                    Q Okay. So for the month that we are
 9
        Q Operating income --                                9
                                                                 talking about here, September of 2019, you are
10
        A -- versus revenue.                                10
                                                                 talking about the 242,310.
11
        Q And what is the difference between                11
                                                                    A Correct.
12
     operating income and operating revenue?                12
                                                                    Q $242,310.
13
        A Operating revenue would be your top line          13
                                                                    A Correct.
14
     and operating revenue would be the bottom line.        14
                                                                    Q Okay?
15
     Revenues is the very top. That is what comes in        15
                                                                    A And then below, I don't know what the
16
     to pay all of your expenses and then you have --       16
                                                                 consulting agreement is or any of that. I don't
17
           MR. BOYLE: Revenue is gross. Income is           17
                                                                 know what that is.
18
     the net.                                               18
                                                                       It must relate to the ATMs because that
19
           MR. VOSS: Appreciate that.                       19
                                                                 is the section it is tied to. And then down
20
           THE WITNESS: Yep. Thank you.                     20
                                                                 below it looks like these are related to ATM
21
           MR. BOYLE: Sorry.                                21
                                                                 sales. So I don't know if they sold machines.
22
     BY MR. VOSS:                                           22
                                                                 I don't know what it represents.
23
        Q Let's try this way. So you see there is           23
                                                                    Q Okay. And you may recall, I asked you
24
     a line called total operating revenue in a box         24
                                                                 about PE debt payments. And if you look down to
25
     called operating revenue and let's just look at        25
                                                                 the other expenses, it is one, two, three, four
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 1
     from the bottom.                                       1
                                                                   A It comes down to a positive number
 2
          Do you see that?                                  2
                                                                though. When you look, it is 13 million
 3
        A I do.                                             3
                                                                positive all the way down the bottom line, all
 4
        Q I'm circling it on mine.                          4
                                                                the way at the bottom right.
 5
          Do you have any idea what that is?                5
                                                                   Q Yep. I agree with that.
 6
        A I do not.                                         6
                                                                      But my question to you, sir, are the PE
 7
        Q Was PE debt payments on the P&L that              7
                                                                debt payments in September 2019 significantly
 8
     Daryl shared with you?                                 8
                                                                higher than the net operating income?
 9
        A I don't recall.                                   9
                                                                   A So you are asking me if the 4.2 million
10
        Q Were ATM sales on the sheet?                     10
                                                                is higher than the 242,000?
11
        A I don't recall.                                  11
                                                                   Q Yes, sir.
12
        Q You did see net operating income,                12
                                                                   A Yes.
13
     correct?                                              13
                                                                   Q And frankly, as we look at these things
14
        A I believe so. That is in my -- in my --          14
                                                                but for ATM sales, they wouldn't be cash flow
15
     it could have been something different. In my         15
                                                                positive.
16
     mind, it was the cash flow. It was the                16
                                                                      Do you agree with that?
17
     operating income from the business.                   17
                                                                   A Yes.
18
        Q Any idea what the scale of that number           18
                                                                   Q Okay. And that -- none of that was
19
     was in the document that Daryl shared with you        19
                                                                reflected on the spreadsheet that Daryl Heller
20
     in April of 2024? Thousands? Millions?                20
                                                                shared with you?
21
     Billions?                                             21
                                                                   A I don't recall ATM sales being a
22
        A It was millions.                                 22
                                                                component of the operating income.
23
        Q Millions?                                        23
                                                                   Q Are you aware of -- these will go quick.
24
        A Yeah.                                            24
                                                                      Are you aware of Paramount owning any
25
        Q Tens of millions?                                25
                                                                Crypto assets of any kind?
                                                Page 137                                                     Page 139
 1
        A Tens of millions.                                 1      A I don't know what they owned but there
 2
        Q So he showed you a net operating income           2   was a Crypto division or a Crypto segment
 3
     showing tens of millions of dollars --                 3   with -- associated with Paramount.
 4
        A I believe so.                                     4      Q And is that PowerCoin?
 5
        Q -- from operations of the ATMs?                   5      A Yeah, PowerCoin. They called it
 6
        A I believe so, yes.                                6   PowerCoin.
 7
        Q And that number as it was shown to you            7      Q Margo?
 8
     and perhaps described by Mr. Heller was -- did         8      A There you go. Thank you. Margo.
 9
     you understand that number or did he -- scratch        9      Q I'm talking in the name of Paramount,
10
     that.                                                 10   Paramount Management Group, LLC, are you aware
11
           Did he tell you that number was revenue         11   of any Bitcoin, Ethereum?
12
     off of the machines and machines alone?               12      A I'm not aware.
13
        A I don't recall exactly what -- how he            13      Q Same thing with Heller Capital, any
14
     described it. How I interpreted it was it was         14   Crypto assets that it owned that you are aware
15
     the revenue from the operations of the ATM            15   of?
16
     machines.                                             16      A Not that I'm aware of.
17
        Q Okay. But not ATM sales, for example?            17      Q How about Daryl Heller personally, any
18
        A I don't recall anything about ATM sales.         18   Crypto currency that he owned that you are aware
19
     I didn't realize that was part of their               19   of personally?
20
     business. I didn't realize that was part of           20      A Not that I'm aware of.
21
     their business.                                       21      Q Any Heller Capital entity other than
22
        Q Okay. Well, you would agree with me              22   Margo or PowerCoin that owned Crypt assets?
23
     that the PE debt payments, again, just focusing       23      A I kind of think there were a couple of
24
     on this one month, 4.2 million dollars, is quite      24   different entities, but I don't recall the names
25
     a bit larger than the net operating income?           25   of them. I had no involvement with that.
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 1
         Q Would it maybe be Bitstop?                1
                                                                you wanted me to find assets through Paramount?
 2
         A There you go. Bitstop.                    2
                                                                Anything I didn't ask you about?
 3
         Q Okay. Are you aware of any entities       3
                                                                      MR. BOYLE: I'm going to object to the
 4
     within the Heller Capital universe that are     4
                                                                form of the question but go ahead and answer.
 5
     going concerns today?                           5
                                                                      THE WITNESS: I'm not aware of any
 6
         A Yeah. Well, Glorious I know for a fact 6             assets that are related to Paramount. None.
 7
     is going concern.                               7
                                                                BY MR. VOSS:
 8
         Q Anything else?                            8
                                                                   Q Okay. All right. Two quick followups.
 9
         A I don't have direct knowledge of whether 9                 Did you give anyone authority to sign
10
     it is a going concern or not. Glorious I have  10
                                                                your name on the documents we referred to at 3
11
     direct knowledge. It is under receivership.    11
                                                                and 4?
12
         Q And is that receivership to your         12
                                                                   A No.
13
     knowledge sending money to Heller Capital? 13                 Q Did you give anyone in Heller Capital
14
         A No.                                      14
                                                                your authority in general to put your name on
15
         Q Okay. So that business is going concern 15           documents?
16
     but it is not generating money for Heller      16
                                                                   A No.
17
     Capital?                                       17
                                                                   Q Okay. And then I'm remiss, I didn't do
18
         A Correct.                                 18
                                                                this at the beginning.
19
         Q Anything else that you know of that      19
                                                                      Can you just give me your general
20
     could be generating money actually to Heller 20            academic and professional background in a
21
     Capital right now?                             21
                                                                nutshell, CV kind of format to explain how you
22
         A No.                                      22
                                                                became qualified to be CFO?
23
         Q Okay. Any other Paramount assets that 23                A Sure. I went to the school of Kutztown
24
     you are aware of that we haven't discussed?    24
                                                                University and graduated with degrees in
25
         A No.                                      25
                                                                accounting and marketing.
                                                Page 141                                                     Page 143
 1
        Q Are you aware of girlfriends of Daryl             1
                                                                      I worked for KPMG and
 2
     Heller?                                                2
                                                                PricewaterhouseCoopers for approximately seven
 3
        A No.                                               3
                                                                or eight years, left -- left public accounting,
 4
        Q You are not aware of any gifts to                 4
                                                                did finance roles for various entities,
 5
     paramours or girlfriends that he gave?                 5
                                                                publishing, printing, went to work for a family
 6
        A No.                                               6
                                                                office entrepreneur, spent 12 years with that
 7
        Q Are you aware of any real estate he               7
                                                                individual in various roles, finance roles,
 8
     owned abroad?                                          8
                                                                operational roles, pretty much doing the exact
 9
        A Abroad? No.                                       9
                                                                same thing that I did when I went to work with
10
        Q How about Heller Capital? Did it own             10
                                                                Daryl, starting companies and building
11
     any real estate abroad?                               11
                                                                companies.
12
        A No, not that I'm aware of.                       12
                                                                      And then an attorney friend of mine
13
        Q In your estimation, who else should we           13
                                                                introduced me to Daryl Heller and I started
14
     talk to that would know about the assets of           14
                                                                working for Daryl as a consultant in August of
15
     Paramount Management?                                 15
                                                                2018.
16
        A Randall, Dennis, the other finance guy           16
                                                                      MR. VOSS: Okay. Thank you, sir. I
17
     his name was Brett Davis. On the Crypto side,         17
                                                                have no further questions.
18
     it was Austin Haller. He was an executive over        18
                                                                      MR. BOYLE: Okay. We are finished.
19
     there.                                                19
                                                                      (The deposition concluded at 12:45 p.m.)
20
        Q Of course, Daryl Heller? Yes?                    20
                                                                      THE REPORTER: Do you want him to read
21
        A Oh, definitely.                                  21
                                                                and sign?
22
        Q Okay. Any assets of Paramount that you           22
                                                                      MR. BOYLE: He will read and sign.
23
     think exist today?                                    23
                                                                      THE REPORTER: And then do you need a
24
        A Not that I'm aware of.                           24
                                                                copy of the transcript?
25
        Q Anything you would want me to know if            25
                                                                      MR. BOYLE: I don't believe so.
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   3                                                       - - -
   4

   5        PAGE                LINE          CHANGE
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   7        _____               _____         __________________________________
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 11         _____               _____         __________________________________
 12         _____               _____         __________________________________
 13         _____               _____         __________________________________
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   1                                     ACKNOWLEDGMENT OF DEPONENT
   2

   3                            I,                                           , do hereby
   4        certify that I have read the foregoing pages and
   5        that the same is a correct transcription of the
   6        answers given by me to the questions therein
   7        propounded, except for the corrections or
   8        changes in form or substance, if any, noted in
   9        the attached Errata Sheet.
 10

 11

 12

 13

 14
                      __________                   __________________________________
 15                   Date                         Signature
 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

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   1                            I hereby certify that the proceedings
   2          and evidence are contained fully and accurately
   3          in the notes taken by me on the within
   4          proceedings and that this is a correct
   5          transcript of the same.
   6

   7

   8
                                       Hillary Hazlett Walsh, Reporter
   9                                   Notary Public
 10

 11

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 <$>                            <2>                          39 (3)                         94,000 (2)
 $242,310 (1)                   2 (13)                                                      99 (1)
 $34,945,085.48 (1)             2.7 (3)                      <4>                            99,987 (2)
 $35,201,490 (1)                2.9 (1)                      4 (21)
 $375.86 (1)                    20 (6)                       4.2 (2)                        <A>
 $4,145.03 (1)                  2000466867 (1)               40 (3)                         a.m (1)
 $500,000 (1)                   2018 (8)                     40,000 (2)                     Aaron (2)
 $550,000 (1)                   2019 (6)                     40686 (1)                      ability (1)
 $94,050 (1)                    2020 (4)                     45 (1)                         able (11)
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 <1>                            2022 (15)                    <5>                            academic (1)
 1 (18)                         2024 (23)                    5 (5)                          access (4)
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 11 (2)                         22ish (1)                    6 (7)                          accurately (1)
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 12/31/2020 (1)                 260 (1)                      7/31/2022 (1)                  add (2)
 12/31/2021 (1)                 280 (2)                      70 (2)                         added (5)
 12/31/2024 (1)                                              700 (1)                        additional (3)
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 17601 (1)                      34.9 (5)                     <9>                             (1)
 18 (1)                         35 (3)                       9 (4)                          akin (1)
 19 (2)                         35,445,085 (1)               9:53 (1)                       al (1)
 19107 (1)                      35.4 (2)                     90 (2)                         alarming (2)


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 Alec (1)                       back (22)                   bookkeeping (1)                Chairman (2)
 American (1)                   background (2)              books (12)                     change (12)
 AMEX (4)                       bad (2)                     bottom (8)                     changed (7)
 amount (9)                     bags (1)                    boutique (1)                   changes (1)
 amounts (3)                    Baker (1)                   box (4)                        character (1)
 analogous (2)                  Balance (38)                boxes (1)                      chart (1)
 and/or (2)                     balanced (1)                Boyle (38)                     Check (2)
 answer (19)                    balance-Paramount           brand (1)                      checks (1)
 answered (1)                   (1)                         break (8)                      Chestnut (1)
 answers (5)                    balances (2)                Brett (1)                      Chief (2)
 anybody (10)                   bank (11)                   bring (1)                      Choice (3)
 anymore (1)                    banks (1)                   brokerage (1)                  CI-24-06012 (1)
 anyone's (1)                   BARRY (3)                   bucks (1)                      circling (1)
 apart (1)                      Based (5)                   build (1)                      Civil (1)
 apologize (5)                  basic (2)                   building (1)                   Claim (2)
 appeared (2)                   basis (8)                   built (1)                      clarification (4)
 appearing (1)                  Bates (1)                   bullet (1)                     clarify (2)
 appears (2)                    bathroom (1)                Burkholder (4)                 clarity (1)
 applied (2)                    beach (6)                   Burkholder's (1)               class (1)
 appreciate (2)                 Bear (1)                    burnt (1)                      clean (2)
 appropriate (1)                bearings (1)                business (11)                  clear (2)
 approximate (1)                beginning (6)               businesses (1)                 CLO (1)
 approximately (3)              behalf (5)                                                 close (2)
 April (17)                     behaved (1)                 <C>                            closest (1)
 art (2)                        behaving (1)                cake (1)                       closing (1)
 aside (1)                      believe (50)                calculated (2)                 collected (1)
 asked (10)                     belong (1)                  call (10)                      collectively (3)
 asking (16)                    belonged (1)                called (14)                    Column (13)
 Asset (1)                      benefit (4)                 calls (2)                      columns (1)
 assets (10)                    benefited (1)               Cannabis (3)                   come (15)
 associated (1)                 best (11)                   Cannibis (1)                   comes (2)
 assume (2)                     better (2)                  cap (5)                        comfort (1)
 assuming (1)                   beyond (1)                  capacity (1)                   comfortable (2)
 ATM (21)                       big (3)                     Capital (130)                  coming (10)
 ATMs (18)                      bigger (1)                  Capital's (2)                  Common (4)
 ATM's (1)                      biggest (1)                 caps (1)                       Commonwealth (1)
 attached (1)                   billed (1)                  card (7)                       communicate (4)
 attend (1)                     billing (1)                 career (1)                     communicated (3)
 attention (7)                  billion (4)                 carried (2)                    communicates (1)
 attorney (3)                   Billions (1)                carry (4)                      communicating (3)
 at-will (1)                    bills (1)                   carrying (1)                   communications (1)
 August (5)                     bit (4)                     cars (1)                       companies (30)
 Austin (2)                     Bitcoin (1)                 case (5)                       companies/personal
 authority (2)                  Bitstop (4)                 cash (49)                       (1)
 Avail (2)                      biweekly (2)                CEO (1)                        Company (34)
 available (1)                  Blackford (6)               certainty (1)                  Company/Personal
 aware (29)                     board (6)                   certification (1)               (1)
                                bolded (3)                  certify (2)                    comparative (1)
 <B>                            book (3)                    CFO (9)                        complete (2)


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 completely (3)                 credentials (1)              Dennis (8)                     due (10)
 comply (1)                     credit (5)                   department (1)                 duly (1)
 component (1)                  crediting (1)                DEPONENT (1)                   duration (1)
 comprises (1)                  Crypt (1)                    deposed (1)                    duties (1)
 computer (4)                   Crypto (6)                   deposit (2)
 Computers (2)                  C-Suite (4)                  deposited (1)                  <E>
 concern (6)                    Cultural (1)                 DEPOSITION (10)                earlier (4)
 concerned (2)                  cumulative (2)               deposits (5)                   early (1)
 concerns (6)                   currency (2)                 Depot (1)                      earn (1)
 concluded (1)                  current (2)                  deps (1)                       earned (1)
 conclusion (1)                 custodian (1)                describe (4)                   earning (6)
 confused (1)                   CV (1)                       described (8)                  earnings (2)
 confusing (1)                                               describing (1)                 easier (1)
 consolidated (6)               <D>                          description (6)                Eby (5)
 consolidating (3)              Dan (5)                      descriptor (1)                 educated (1)
 constellation (1)              Dana (7)                     designation (1)                efforts (1)
 consult (1)                    Danny (3)                    Detail (6)                     eight (1)
 consultant (4)                 Dan's (1)                    determining (1)                either (6)
 consulting (4)                 Daryl (94)                   difference (3)                 elected (1)
 contained (1)                  Daryl's (10)                 different (9)                  e-mail (2)
 contentious (1)                data (1)                     differently (1)                e-mailed (1)
 continue (2)                   date (7)                     digital (4)                    employee (7)
 continued (1)                  dated (2)                    direct (11)                    employees (5)
 contract (2)                   dates (3)                    directed (3)                   employer (2)
 contribute (1)                 David (3)                    direction (1)                  ended (5)
 control (3)                    Davis (1)                    directly (4)                   engage (1)
 controlled (1)                 day (3)                      disburse (1)                   enterprise (1)
 controller (3)                 days (2)                     discovery (3)                  entire (7)
 conversation (4)               day-to-day (2)               discuss (4)                    entities (70)
 conversations (2)              dboyle@boylejasari.co        discussed (4)                  entitled (1)
 COO (1)                        m (1)                        discussion (6)                 entity (60)
 copy (3)                       De (2)                       discussions (6)                entity's (1)
 corner (3)                     deal (4)                     displayed (4)                  entrepreneur (1)
 corporate (7)                  debit (1)                    distinction (1)                entry (3)
 Correct (42)                   debited (1)                  distribute (1)                 environment (1)
 corrections (1)                debt (14)                    distribution (14)              equally (1)
 correctly (4)                  debts (1)                    Distributions (16)             equipment (2)
 cost (1)                       December (7)                 dividend (2)                   equity (2)
 counsel (8)                    decide (1)                   dividends (6)                  Erin (1)
 country (1)                    decision (3)                 division (1)                   Errata (1)
 County (2)                     decisions (3)                document (47)                  error (1)
 couple (4)                     decrease (2)                 documentation (5)              Esquire (3)
 course (3)                     deed (1)                     documented (4)                 essentially (2)
 Court (4)                      deeded (1)                   documents (17)                 established (3)
 cover (6)                      Deerfield (2)                doing (11)                     estate (4)
 covered (2)                    Defendant (1)                dollars (28)                   estimate (4)
 create (6)                     Definitely (8)               drill (1)                      estimates (1)
 created (14)                   degree (1)                   Drive (4)                      estimation (1)
 creates (1)                    degrees (1)                  drugs (1)                      et (1)


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 Ethereum (1)                   Farabaugh (1)                font (1)                       going (48)
 evaluations (1)                fast (1)                     foregoing (1)                  Good (9)
 evasive (1)                    February (4)                 forget (1)                     goods (1)
 Everest (2)                    February/March (1)           forgetting (1)                 graduated (1)
 everybody (2)                  fee (5)                      form (5)                       Granite (2)
 evidence (2)                   feel (3)                     formal (7)                     Great (1)
 exact (7)                      fees (6)                     formalities (2)                gross (1)
 exactly (5)                    felt (4)                     format (7)                     Group (39)
 examination (4)                fend (1)                     formed (5)                     grouping (1)
 example (9)                    fifth (1)                    forth (1)                      grow (1)
 examples (1)                   Fifty (1)                    forward (1)                    growth (1)
 exceeded (1)                   figure (2)                   four (5)                       guess (5)
 Excel (2)                      file (1)                     fourth (4)                     guesses (2)
 excess (1)                     filed (3)                    Frank (4)                      guy (2)
 excluded (1)                   files (6)                    frankly (1)
 Excuse (2)                     filing (1)                   fraud (2)                      <H>
 executed (1)                   Finance (5)                  fraudulent (2)                 half (7)
 executive (2)                  finances (3)                 friend (1)                     halfway (1)
 EXHIBIT (42)                   Financial (13)               friends (1)                    Haller (2)
 EXHIBITS (1)                   Financially (1)              front (5)                      Halo (3)
 exist (2)                      financially-troubled         full (5)                       hand (4)
 existed (5)                     (1)                         fully (1)                      handing (7)
 exists (1)                     Financials (12)              Fund (1)                       happen (4)
 exit (3)                       find (6)                     funded (5)                     happened (1)
 expansion (2)                  fine (5)                     funding (1)                    happens (1)
 expected (2)                   finish (4)                   Fundonatic (1)                 happy (1)
 expenditures (1)               finished (1)                 Funds (25)                     hard (1)
 Expense (1)                    firm (1)                     furnish (1)                    Hazlett (2)
 expenses (5)                   first (12)                   furnishing (1)                 HC (1)
 experience (1)                 five (2)                     further (1)                    HCBS (1)
 explain (3)                    five-million-dollar (4)                                     HCG (4)
 explanation (2)                flags (1)                    <G>                            head (2)
 Express (1)                    Flash (1)                    game (1)                       header (1)
 extent (1)                     flights (2)                  GCC (26)                       headers (1)
 External (1)                   flip (1)                     gears (1)                      hear (3)
                                Florida (2)                  general (5)                    heard (2)
 <F>                            flow (28)                    generally (6)                  hearing (2)
 face (2)                       flowed (6)                   generating (5)                 held (1)
 fact (5)                       flowing (4)                  getting (4)                    Heller (174)
 factory (1)                    flows (1)                    gifts (1)                      Heller's (6)
 failed (1)                     FMB (2)                      girlfriends (2)                Help (7)
 failing (1)                    focus (3)                    give (20)                      helpful (1)
 Fair (18)                      focused (1)                  given (5)                      helps (2)
 falling (1)                    focusing (1)                 glad (1)                       hey (1)
 familiar (12)                  Fogleman (2)                 glasses (1)                    high (1)
 family (4)                     folks (3)                    Glorious (51)                  higher (2)
 famous (1)                     follow (5)                   go (34)                        highlighted (1)
 fancy (1)                      follows (1)                  goal (1)                       HIH (6)
 far (3)                        followups (2)                goes (8)                       Hillary (2)


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 hired (2)                      interested (4)               <L>                            lower (1)
 hiring (1)                     intermingling (2)            Labs (1)                       lowest (1)
 hold (14)                      interpreted (1)              Lancaster (4)                  Luma (1)
 holding (11)                   interrupt (1)                laptop (5)
 Holdings (37)                  introduced (1)               large (2)                      <M>
 home (4)                       invested (6)                 larger (1)                     machines (8)
 honest (1)                     investment (55)              largest (2)                    maintenance (1)
 honestly (5)                   investments (5)              Law (3)                        major (1)
 Hopefully (1)                  investors (11)               lawsuit (1)                    majority (4)
 hoping (3)                     involved (1)                 layman's (1)                   making (3)
 hours (1)                      involvement (1)              Leaman (3)                     man (1)
 house (12)                     IOU (2)                      learn (1)                      manage (3)
 HR (1)                         iso (1)                      leave (1)                      managed (4)
 human (1)                      issue (2)                    leaving (2)                    Management (34)
 hundred (4)                    issues (1)                   Ledgers (1)                    managing (4)
                                issuing (1)                  left (14)                      March (8)
 <I>                            its (17)                     legal (12)                     Margo (4)
 icing (1)                                                   legitimate (1)                 mark (2)
 idea (21)                      <J>                          legitimately (1)               MARKED (15)
 identification (8)             January (3)                  Leininger (1)                  market (11)
 identify (4)                   Jasari (1)                   LendSpark (2)                  marketing (1)
 impede (1)                     Jersey (1)                   length (1)                     marking (1)
 impediments (1)                jet (1)                      lengthy (1)                    Mary (1)
 impetus (1)                    Job (3)                      letter (1)                     matched (1)
 important (2)                  Johnson (2)                  level (6)                      matches (2)
 included (1)                   Josh (17)                    liabilities (2)                matching (1)
 including (1)                  Joshua (2)                   liability (7)                  materials (3)
 income (26)                    judgment (2)                 liked (1)                      math (2)
 incoming (2)                   July (14)                    line (32)                      Matt (7)
 increase (3)                   jump (6)                     lines (7)                      matter (2)
 independent (1)                jumped (1)                   list (4)                       matters (1)
 indicates (1)                  jvoss@saxtonstump.co         listed (3)                     mature (1)
 indicating (1)                 m (1)                        listened (1)                   mean (31)
 Indicators (1)                                              listening (1)                  Meaning (5)
 indirectly (1)                 <K>                          little (4)                     means (2)
 individual (5)                 K-1 (6)                      LLC (19)                       medium (1)
 individually (1)               K-87 (1)                     loan (11)                      meet (1)
 industries (1)                 keep (3)                     loaned (1)                     meeting (14)
 influence (1)                  kept (1)                     loaning (3)                    meetings (2)
 information (6)                Key (1)                      loans (4)                      member (5)
 i-n-g (1)                      kidding (1)                  long (1)                       members (3)
 in-person (1)                  kind (13)                    longer (1)                     membership (2)
 insanely (1)                   knew (3)                     look (28)                      membership/ownershi
 inside (6)                     know (109)                   looked (6)                     p (1)
 instructed (1)                 knowledge (22)               looking (21)                   memory (4)
 instructions (1)               KPIs (1)                     looks (10)                     mentioned (7)
 insurance (2)                  KPMG (1)                     Loss (1)                       mentions (1)
 intercoming (1)                Kutztown (1)                 losses (2)                     mercy (1)
 interest (3)                                                lot (3)                        mere (1)


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 merged (2)                     nods (1)                     original (1)                   paycheck (3)
 methodology (1)                nonoperating (2)             originally (1)                 paying (2)
 MGM (2)                        Nope (1)                     originated (5)                 payment (5)
 Michigan (6)                   normal (1)                   Orrstown (2)                   payments (20)
 million (73)                   Notary (2)                   outline (2)                    PE (6)
 Millions (6)                   note (31)                    outside (1)                    pen (2)
 mind (2)                       noted (1)                    owe (1)                        pending (2)
 mine (11)                      notepad (1)                  owed (15)                      Pennsylvania (4)
 minimus (2)                    notes (5)                    owes (4)                       people (6)
 minor (1)                      Notice (1)                   owing (1)                      percent (35)
 minus (3)                      November (2)                 owned (19)                     percentage (5)
 minute (5)                     NP (1)                       owner (15)                     percentile (1)
 minutes (3)                    number (18)                  owners (3)                     perception (1)
 misheard (1)                   numbered (4)                 ownership (12)                 perfect (5)
 misspeak (1)                   numbers (7)                  owning (1)                     perform (1)
 misspoke (1)                   nutshell (1)                 owns (1)                       Performance (2)
 moment (1)                                                                                 performed (3)
 money (66)                     <O>                          <P>                            performing (3)
 monies (2)                     object (3)                   P&L (32)                       period (14)
 month (17)                     objections (1)               P&Ls (1)                       periods (1)
 monthly (3)                    objective (1)                p.m (1)                        person (2)
 months (2)                     obvious (2)                  PA (2)                         personal (12)
 month-to-month (2)             obviously (2)                PAGE (18)                      personally (8)
 morning (1)                    occur (1)                    PAGE/LINE (1)                  persons (1)
 MSO (10)                       occurred (1)                 pages (4)                      perspective (5)
 multiple (2)                   odd (15)                     paid (8)                       perspectives (1)
                                office (2)                   paperwork (1)                  Pete (1)
 <N>                            officer (6)                  Paragraph (1)                  PH (1)
 N/P (8)                        officers (3)                 Paramount (153)                Philadelphia (1)
 nailed (1)                     Oh (6)                       Paramount/pledges              physical (3)
 name (24)                      Okay (128)                   (8)                            picked (1)
 names (2)                      once (3)                     Paramount-related              piece (2)
 Nancy (2)                      ones (8)                     (1)                            pin (2)
 native (5)                     online (2)                   Paramount's (7)                place (1)
 nature (1)                     open (1)                     paramours (1)                  placeholder (1)
 need (21)                      open-ended (1)               Pardon (1)                     Plaintiffs (4)
 needed (4)                     operated (1)                 parentheses (2)                plan (1)
 needs (1)                      operating (36)               parlance (1)                   Pleas (2)
 negotiating (1)                operational (5)              part (11)                      please (1)
 Neil (1)                       operationally (2)            particular (1)                 Pledge (4)
 neither (1)                    operations (7)               particulars (1)                PMG (4)
 net (12)                       opinion (2)                  parties (3)                    point (25)
 nets (1)                       opportunity (1)              partner (2)                    pointed (1)
 network (1)                    oral (5)                     Partners (1)                   points (5)
 networks (1)                   order (2)                    passed (1)                     Ponzi (20)
 never (8)                      ordinary (1)                 passthrough (3)                poor (1)
 new (7)                        org (1)                      pay (13)                       portfolio (28)
 Nineteen (1)                   organizations (3)            payable (6)                    portion (1)
 Ninetieth (1)                  organized (1)                payable/no (1)                 portrayed (3)


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 positive (7)                   Project (1)                  recall (57)                    requesting (1)
 possess (1)                    Proof (2)                    recalling (2)                  requests (2)
 possible (11)                  property (2)                 receivable (9)                 required (1)
 possibly (2)                   propounded (1)               receivable-Raw (1)             requirements (1)
 potential (2)                  protocol (1)                 receivables (1)                reserved (1)
 PowerCoin (6)                  provide (1)                  receive (5)                    reset (1)
 Powers (1)                     provided (5)                 received (11)                  resides (1)
 practice (7)                   PTG (1)                      receivership (2)               resignation (2)
 practices (1)                  Public (3)                   receiving (2)                  resigned (4)
 Premiere (3)                   publishing (1)               recognize (7)                  resources (1)
 preparation (2)                pulling (2)                  recollection (3)               respective (2)
 preparations (1)               purchase (7)                 reconcile (4)                  response (4)
 prepared (12)                  purchasing (3)               reconciled (1)                 responses (2)
 present (2)                    purports (1)                 reconciliation (1)             responsibility (1)
 presentation (9)               purpose (1)                  record (13)                    responsible (1)
 presented (3)                  purposes (4)                 recorded (3)                   responsive (1)
 presently (2)                  pursuant (1)                 records (8)                    restate (1)
 President (1)                  put (9)                      red (1)                        restaurant (1)
 Prestige (17)                  putting (1)                  reduction (1)                  results (2)
 pretty (4)                                                  refer (2)                      return (3)
 previous (5)                   <Q>                          referred (2)                   returning (3)
 previously (6)                 qualifications (1)           reflect (4)                    returns (1)
 price (2)                      qualified (1)                reflected (9)                  revenue (16)
 PricewaterhouseCoope           quarter (1)                  Regarding (4)                  Revenues (1)
 rs (1)                         quarterly (1)                regular (3)                    review (2)
 Prill (3)                      question (37)                Reimb (1)                      reviewed (1)
 print (2)                      questions (9)                relate (2)                     Richard (2)
 Printed (11)                   quick (3)                    related (11)                   Richard's (1)
 printing (1)                   QuickBooks (6)               relates (1)                    Rick (1)
 printout (1)                   quickly (1)                  relationship (2)               right (36)
 prior (1)                      Quinones (1)                 Reliance (1)                   RL (1)
 priority (1)                   quite (2)                    religiously (1)                RL0004 (1)
 private (2)                                                 remember (4)                   RL0007 (1)
 privately (1)                  <R>                          remiss (1)                     RL0011 (3)
 probably (12)                  raising (1)                  removed (1)                    RL0012 (1)
 problem (2)                    Randall (8)                  repairs (1)                    RL0013 (5)
 proceeding (1)                 rattle (1)                   Report (31)                    RL0015 (3)
 proceedings (2)                Raw (46)                     reported (2)                   RL00172 (1)
 proceeds (1)                   Raw's (2)                    reporter (7)                   RL0020 (2)
 process (1)                    reach (1)                    Reporting (9)                  RL0022 (1)
 produce (2)                    reaches (1)                  reports (4)                    RL0023 (1)
 produced (1)                   read (7)                     represent (28)                 RL0026 (1)
 producing (1)                  real (7)                     representation (2)             RL0028 (5)
 product (2)                    realize (2)                  representations (1)            RL0031 (2)
 PRODUCTION (5)                 really (13)                  represented (6)                RL0032 (1)
 professional (1)               Ream (1)                     representing (1)               RL16 (1)
 Profit (1)                     reason (7)                   represents (12)                RL28 (1)
 profitable (8)                 reasonable (2)               REQUEST (3)                    RL31 (2)
 profits (2)                    reasons (4)                  requested (1)                  RL32 (1)


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 RL6 (1)                        September (3)                Solutions (1)                  struggle (1)
 Rockford (1)                   serial (1)                   somebody (4)                   struggling (1)
 role (7)                       service (8)                  Sorry (13)                     studying (1)
 roles (4)                      serviced (1)                 sort (7)                       Stump (1)
 roll (2)                       services (14)                sounds (2)                     Subpoena (8)
 rolled (3)                     set (5)                      speak (4)                      substance (3)
 rolls (1)                      sets (1)                     speaking (1)                   subtotal (1)
 room (3)                       setup (2)                    special (2)                    succeeded (1)
 Row (10)                       seven (3)                    specific (3)                   sufficient (8)
 Run (2)                        seventh (2)                  specifically (17)              suggests (1)
 running (1)                    Seventy (1)                  spent (2)                      Suite (2)
 RYNEARSON (21)                 shakes (1)                   spoke (2)                      sum (17)
                                shared (5)                   sportsmansdeals.com            summary (3)
 <S>                            shareholders (1)              (1)                           sums (3)
 sabbatical (3)                 sheet (21)                   Spreadsheet (16)               super (1)
 Safe (1)                       sheets (2)                   spreadsheets (1)               supplied (3)
 safes (1)                      shifted (1)                  staff (5)                      supply (1)
 sale (2)                       Shock (3)                    stake (3)                      support (8)
 sales (9)                      shocking (1)                 stamp (1)                      supports (1)
 satisfied (3)                  show (7)                     standalone (1)                 sure (23)
 saved (1)                      showed (10)                  standard (8)                   surmise (1)
 saw (6)                        showing (2)                  staple (1)                     surprise (1)
 Saxton (1)                     shown (1)                    start (7)                      surprising (1)
 saying (7)                     side (1)                     started (6)                    suspected (1)
 says (16)                      sides (1)                    starting (1)                   sworn (1)
 scale (4)                      sign (3)                     startup (6)                    synonymous (1)
 scheme (11)                    signatories (1)              startups (1)
 Schlicker (5)                  signature (11)               State (1)                      <T>
 school (1)                     Signed (1)                   Statement (2)                  table (5)
 scratch (2)                    significant (3)              Statements (4)                 take (8)
 screen (13)                    significantly (3)            states (1)                     taken (1)
 scroll (1)                     signing (1)                  stay (1)                       talk (16)
 sealing (1)                    Silverview (1)               stayed (1)                     talked (7)
 Search (1)                     similar (2)                  stays (1)                      talking (11)
 sec (1)                        simply (2)                   steps (1)                      tallied (1)
 second (10)                    single (3)                   stick (2)                      tax (14)
 section (2)                    sir (17)                     stipulated (1)                 taxes (4)
 see (83)                       sit (2)                      STIPULATION (1)                team (3)
 seeing (5)                     sitting (1)                  Stoltzfus (2)                  Teams (6)
 seen (6)                       six (1)                      stop (2)                       Technology (2)
 segment (3)                    skip (4)                     stopped (2)                    tell (9)
 sell (7)                       slow (1)                     straight (2)                   telling (2)
 selling (1)                    small (9)                    strained (1)                   Ten (2)
 send (3)                       smaller (1)                  strategic (4)                  ten-point (2)
 sending (2)                    smarter (1)                  Street (1)                     Tens (3)
 senior (2)                     software (2)                 Strictly (1)                   tenure (1)
 sense (11)                     sold (3)                     strike (2)                     term (3)
 sent (2)                       sole (4)                     structure (2)                  terminology (1)
 separate (2)                   solely (2)                   structures (1)                 terms (2)


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 test (3)                       true (2)                     view (2)                       Yep (7)
 testified (1)                  truly (1)                    visionary (2)                  yes-or-no (1)
 testify (1)                    truthful (1)                 Voss (53)
 testimony (3)                  try (5)                      vs (1)                         <Z>
 Text (2)                       trying (13)                                                 Zoom (1)
 Thank (11)                     turned (2)                   <W>
 Thanksgiving (2)               TVT (2)                      W-2 (1)
 thing (11)                     Twenty-one (1)               wait (3)
 things (5)                     twice (2)                    waived (1)
 think (44)                     two (19)                     walk (1)
 thinker (1)                    Tycoon (15)                  Walsh (2)
 thinking (3)                   tying (1)                    want (22)
 third (7)                      type (2)                     wanted (5)
 Thirty (1)                     types (2)                    Warehouse (1)
 thought (2)                    typewritten (1)              way (17)
 thousand (1)                   typically (4)                ways (2)
 Thousands (1)                                               W-e (1)
 three (12)                     <U>                          Web (1)
 tie (4)                        U.S (1)                      week (7)
 tied (4)                       ultimately (1)               Weekly (1)
 tiers (1)                      Um-hum (3)                   weeks (1)
 time (33)                      underlying (1)               Welkowitz (1)
 timeframe (5)                  underneath (1)               Well (33)
 times (5)                      understand (19)              went (22)
 tiny (1)                       understanding (12)           wiped (2)
 title (6)                      understood (3)               wires (1)
 titled (2)                     undertake (1)                Wisniewski (1)
 titles (2)                     unfortunately (2)            withdrawals (1)
 to/due (1)                     unit (1)                     witness (26)
 today (15)                     universe (7)                 witnesses (1)
 today's (1)                    University (1)               word (3)
 toggle (1)                     unpaid (3)                   words (1)
 told (5)                       unusual (3)                  work (19)
 tomorrow (1)                   upset (1)                    worked (12)
 top (10)                       upside (1)                   working (3)
 tort (1)                       use (4)                      works (1)
 total (10)                                                  worksheet (1)
 totals (1)                     <V>                          worry (2)
 TR-31 (1)                      vacation (1)                 worse (1)
 tracking (1)                   vague (1)                    worth (3)
 transaction (6)                value (11)                   write (2)
 transactional (5)              values (1)                   written (6)
 Transactions (6)               various (4)                  wrote (1)
 transcript (5)                 vendor (1)
 transcription (1)              Ventures (12)                <Y>
 transpired (1)                 vernacular (2)               Yeah (35)
 trap (1)                       version (1)                  year (14)
 trial (1)                      versus (1)                   years (6)
 troubled (7)                   videotape (1)                year-to-year (2)


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